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                     ~
      TRAVELERSJ ·


                       Report Claims Immediately by Calling*
                                  1-800-238-6225
                       Speak directly with a claim professional
                          24 hours a day, 365 days a year
                   *Unless Your Policy Requires Written Notice or Reporting




                                   OFFICE PAC
                                   INSURANCE AGENTS




                     A Custom Insurance Policy Prepared for:

                     BORDEN-PERLMAN INSURANCE
                     AGENCY, INCORPORATED
                     2000 LENOX DR
                     STE 202
                     LAWRENCEVILLE NJ 08648




         Presented by: BORDEN-PERLMAN INS AGCY
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                              ~
         TRAVELERSJ                                                One Tower Square, Hartford, Connecticut 06183

         COMMON POLICY DECLARATIONS                               POLICY NO.: 680-6C420563-13-42
         OFFICE PAC                                               ISSUE DATE: 12/19/2012
         BUSINESS:INSURANCE AGENT
         INSURING COMPANY:
         TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA
         1. NAMED INSURED AND MAILING ADDRESS:
              BORDEN-PERLMAN INSURANCE
              AGENCY, INCORPORATED
              2000 LENOX DR
              STE 202
              LAWRENCEVILLE NJ 08640

         2. POLICY PERIOD: From 01/01/2013 to 01/01/2014 12:01 A.M. Standard Time at your mailing address.
         3. DESCRIPTION OF PREMISES:
                                                                                  ADDRESS
              PREM.LDC.NO. BLDG.NO.         OCCUPANCY              (same as Mailing Address unless specified otherwise)


              SEE IL TO 20 02 05


         4.   COVERAGE PARTS AND SUPPLEMENTS FORMING PART OF THIS POLICY AND INSURING
              COMPANIES
                         COVERAGE PARTS and SUPPLEMENTS                   INSURING COMPANY
                 Businessowners Coverage Part                                                           ACJ




         5. The COMPLETE POLICY consists of this declarations and all other declarations, and the forms and endorse -
            ments for which symbol numbers are attached on a separate listing.
         6. SUPPLEMENTAL POLICIES:         Each of the following is a separate policy containing its complete provisions.
                      POLICY                               POLICY NUMBER                          INSURING COMPANY




 i\
  II          DIRECT BILL
         7. PREMIUM SUMMARY:

              Provisional Premium                             $      2,124.00
              Due at Inception                                $
              Due at Each                                     $
         NAME AND ADDRESS OF AGENT OR BROKER                             COUNTERSIGNED BY:

         BORDEN-PERLMAN INS AGCY                   XK201
         2000 Lenox Dr Ste 202
                                                                                    Authorized Representative
         Lawrenceville                          NJ 08648
         IL TO 19 02 05 (Page 1 of 01)                                   DATE:    12/19/2012
         Office: MORRISPLN/S JERS      DOWN



,J
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                      ~
  TRAVELERSJ                                        One Tower Square, Hartford, Connecticut 06183
  BUSINESSOWNERS COVERAGE PART DECLARATIONS
  OFFICE PAC                              POLICY NO.: 6B0-6C420563-13-42
                                          ISSUE DATE: l.2/l~/2012
  INSURING COMPANY:
  TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA

  POLICY PERIOD:
  From 01-01-13 to 01-01-14 12:01 A.M. Standard Time at your mailing address

  FORM OF BUSINESS:       CORPORATION

  COVERAGES AND LIMITS OF INSURANCE:  Insurance applies only to an item for which a
  "limit" or the word "included" is shown.                                                          f.--



                          COMMERCIAL GENERAL LIABILITY COVERAGE
  OCCURRENCE FORM                                                LIMITS OF INSURANCE
  General Aggregate (except Products-Completed Operations Limit)    $      2,000,000
  Products-completed Operations Aggregate Limit                     $      2,000,000
  Personal and Advertising Injury Limit                             $      1,000,000
  Each Occurrence Limit                                             $      1,000,000                ;-;.

  Damage to Premises Rented to You                                  $         300,000
  Medical Payments Limit (any one person)                           $           5,000
                                                                                                    ,.··.
                                                                                                    \-:


                                   BUSINESSOWNERS PROPERTY COVERAGE

  DEDUCTIBLE AMOUNT:       Businessowners Property Coverage:    $   1,000 per occurrence.
                           Building Glass:                      $   1,000 per occurrence.


  BUSINESS INCOME/EXTRA EXPENSE LIMIT:        Actual loss for 12 consecutive months

  Period of Restoration-Time Period:           Immediately

  ADDITIONAL COVERAGE:
      Fine Arts:                         $       25,000



  Other additional coverages apply and may be changed by an endorsement.              Please
  read the policy.




  SPECIAL PROVISIONS:
                    COMMERCIAL GENERAL LIABILITY COVERAGE
                    IS SUBJECT TO A GENERAL AGGREGATE LIMIT
  MP TO 01 02 OS   (Page 1 of 2)
         Case 2:17-cv-04593-WJM-MAH Document 1-2 Filed 06/22/17 Page 4 of 76 PageID: 37
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                                                            BUSINESSOWNERS PROPERTY COVERAGE


                 PREMISES LOCATION NO.:               001            BUILDING NO. :   001

                                                                      LIMIT OF                                        INFLATION
                                                                     INSURANCE              VALUATION   COINSURANCE     GUARD
                           COVERAGE
                                                             $       395,400                    RC*        N/A
                  BUSINESS PERSONAL PROPERTY
                      *Replacement Cost

                  COVERAGE EXTENSIONS:
                      Accounts Receivable                    $        25,000
                      Valuable Papers                        $        25,000

                   PREMISES LOCATION NO.:             002            BUILDING NO. :   001

                                                                       LIMIT OF                                       INFLATION
                                                                      INSURANCE             VALUATION   COINSURANCE     GUARD
                            COVERAGE
                                                                        1,100                   RC*        N/A
                   BUSINESS PERSONAL PROPERTY                    $
                       *Replacement Cost

                                                                                                                                      .-.
                    COVERAGE EXTENSIONS:                                                                                          ~


                                                                                                                                  1--
                        Accounts Receivable                  $        25,000
                        Valuable Papers                      $        25,000                                                      r~

                    PREMISES LOCATION NO.:             003           BUILDING NO. :   001

                                                                       LIMIT OF                                       INFLATION
                                                                      INSURANCE             VALUATION   COINSURANCE     GUARD
                              COVERAGE
                                                                 $    150,000                   RC*        N/A
                     BUSINESS PERSONAL PROPERTY
                         *Replacement Cost

                     COVERAGE EXTENSIONS:
                         Accounts Receivable                 $        25,000
                         Valuable Papers                     $        25,000

                      PREMISES LOCATION NO.:           004           BUILDING NO. :   001

                                                                       LIMIT OF                                       INFLATION
                                                                      INSURANCE             VALUATION   COINSURANCE     GUARD
                               COVERAGE
                                                                       75,000                   RC*        N/A          0.0%
                      BUSINESS PERSONAL PROPERTY                 $
                          *Replacement Cost

                      COVERAGE EXTENSIONS:
                          Accounts Receivable                $        25,000
                          Valuable Papers                    $        25,000

                                                                                  changed by an endorsement.    Please read
                          Other coverage extensions apply and may be
                          the policy.




                           MP TO 01 02 OS   (Page 2 of 2)
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  TRAVELERSJ
                    ......
                                             POLICY NO.: 680-6C420563-13-42
 TAXES AND SURCHARGES
 OFFICE PAC                            PAC   EFFECTIVE DATE: 01/01/2013
                                             ISSUE DATE: 12/19/2012




                                                                      AMOUNT
  DESCRIPTION:
                                                                 $     12.00
  NJGF SURCHARGE
                                                                 $      5.00
  NJGF SURCHARGE




   OFFICE: MORRISPLN/S JERS
   PRODUCER NAME:


   MP TO 21 01 89     (Page 1   of 1   )
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                                            POLICY NUMBER:     680-6C420563-13-42
                                            EFFECTIVE DATE:    01/01/2013
                                                 ISSUE DATE:   12/19/2012


                    LISTING OF FORMS, ENDORSEMENTS AND SCHEDULE NUMBERS

        THIS LISTING SHOWS THE NUMBER OF FORMS, SCHEDULES AND ENDORSEMENTS
        BY LINE OF BUSINESS


               IL TO   19   02   05   COMMON POLICY DECLARATIONS
               MP TO   01   02   05   BUSINESSOWNERS COVERAGE PART DECLARATIONS
               IL TB   01   01   01   FORMS ENDORSEMENTS· AND SCHEDULE NUMBERS
               IL T3   15   09   07   COMMON POLICY CONDITIONS
               IL TO   20   02   05   ADDITIONAL LOCATIONS

        BUSINESSOWNERS
               CP 12 18 06 95         LOSS PAYABLE PROVISIONS
               MP Tl 30 02 05         TABLE OF CONTENTS - BUSINESSOWNERS COVERAGE PART
                                      DELUXE PLAN
               MP Tl   02   02   05   BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
               MP Tl   OS   02   OS   AMENDATORY PROVISIONS - OFFICES
               MP T3   06   02   07   SEWER OR DRAIN BACK UP EXTENSION
               MP T3   2S   01   08   TERRORISM RISK INSURANCE ACT OF 2002 DISCLOSURE
               MP T3   34   02   OS   ELECTRONIC DATA PROCESSING - INCREASED LIMIT
               MP T3   47   10   06   EXTENDED BUSINESS INCOME
               MP T3   SO   11   06   EQUIPMENT BREAKDOWN - SERVICE INTERRUPTION LIMITATION
               MP T3   56   02   08   AMENDATORY PROVISIONS - GREEN BUILDING AND BUSINESS
                                      PERSONAL PROP COV ENHANCEMENTS
               MP T9 70 03 06         POWER PAC ENDORSEMENT
               MP T4 66 02 05         PENNSYLVANIA CHANGES

        COMMERCIAL GENERAL LIABILITY
               CG TO 08 07 86         KEY TO DECLARATIONS PREMIUM SCHEDULE
               CG TO 34 11 03         TABLE OF CONTENTS - COMMERCIAL GENERAL LIABILITY
                                      COVERAGE FORM CG 00 01 10 01
               CG 00   01 10 01       COMMERCIAL GENERAL LIABILITY COVERAGE FORM
               CG 21   70 01 08       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
               CG D2   55 11 03       AMENDMENT OF COVERAGE - POLLUTION
               CG D3   09 11 03       AMENDATORY ENDR- PRODUCTS-COMPLETED OPERATIONS HAZARD
               CG D4   71 02 09       AMENDMENT OF COVERAGE B - PERSONAL AND ADVERTISING
                                      INJURY LIABILITY
               CG DO   37   04 05     OTHER INSURANCE - ADDITIONAL INSUREDS
               CG Dl   86   11 03     XTEND ENDORSEMENT
               CG D2   03   12 97     AMEND - NON CUMULATION OF EACH OCC
               CG D4   13   04 08     AMEND COVG - POLLUTION-EQUIP EXCEPTION
               CG 21   51   09 89     AMENDMENT OF LIQUOR LIABILITY EXCLUSION - EXCEPTION
                                      FOR SCHEDULED ACTIVITIES
               CG D2 56 11 03         AMENDMENT OF COVERAGE - PROPERTY DAMAGE
               CG D2 88 11 03         EMPLOYMENT-RELATED PRACTICES EXCLUSION
               CG D3 26 10 11         EXCLUSION - UNSOLICITED COMMUNICATION



   IL TS 01 01 01                                                PAGE:      l   OF   2
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                                          POLICY NUMBER:    6B0-6C420S63-l3-42
                                          EFFECTIVE DATE:   01/01/2013
                                              ISSUE DATE:   12/19/2012



        COMMERCIAL GENERAL LIABILITY (CONTINUED)
               CG D3 S6 01 05       MOBILE EQUIPMENT REDEFINED - EXCLUSION OF VEHICLES
                                    SUBJECT TO MOTOR VEHICLE LAWS
               CG D4 21 07 OB       AMEND CONTRAL LIAB EXCL - EXC TO NAMED INS
               CG DS 62 02 11       EXCLUSION - FINANCIAL PROFESSIONAL SERVICES
               CG D6 lB 10 11       EXCLUSION - VIOLATION OF CONSUMER FINANCIAL PROTECTION
                                    LAWS
               CG Dl   42   01 99   EXCLUSION - DISCRIMINATION
               CG D2   42   01 02   EXCLUSION - WAR
               CG T4   7B   02 90   EXCLUSION - ASBESTOS
               CG 26   20   10 93   NEW JERSEY CHANGES - LOSS INFORMATION (OCCURRENCE
                                    VERSION)

        EMPLOYEE BENEFITS LIABILITY
               CG TO 09 09 93       EMPLOYEE BENEFITS LIABILITY COVERAGE PART DECLARATIONS
               CG TO 43 11 88       TABLE OF CONTENTS - EMPLOYEE BENEFITS LIAB COVERAGE
                                    FORM CG Tl 01 CLAIMS MADE
               CG Tl 01 07 86       EMPLOYEE BENEFITS LIABILITY COVERAGE FORMS
               CG TS 30 06 89       AMENDMENT - EBL
               CG DO 3B 03 95       EXCLUSION - IRC VIOLATIONS
               CG T4 BS 11 88       ADDITIONAL EXCLUSION - EMPLOYEE BENEFITS LIABILITY

        MULTIPLE SUBLINE ENDORSEMENTS
               CG T3 33 11 03       LIMITATION WHEN TWO OR MORE POLICIES APPLY

        INTERLINE ENDORSEMENTS
               IL T3 82 08 06       EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
               IL 00 21 09 OB       NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT (BROAD
                                    FORM)
               IL 01 11 11 03       NEW JERSEY CHANGES
               IL 01 41 09 08       NEW JERSEY CHANGES - CIVIL UNION
               IL 01 66 09 07       PENNSYLVANIA CHANGES - ACTUAL CASH VALUE
               IL 01 72 09 07       PENNSYLVANIA CHANGES
               IL 02 08 09 07       NEW JERSEY CHANGES - CANCELLATION AND NONRENEWAL
               IL 09 10 07 02       PENNSYLVANIA NOTICE
               IL T3 79 01 08       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM


               PN MP 39 01 11       IMPORTANT NOTICE - JURISDICTIONAL INSPECTIONS - NEW
                                    JERSEY




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                                                          COMMON POLICY CONDITIONS
                         All Coverage Parts included in this policy are subject to the following conditions:

                         A. CANCELLATION                                                           C. EXAMINATION              OF      YOUR          BOOKS     AND
                               1. The first Named Insured shown in the Decla-                         RECORDS
                                  rations may cancel this policy by mailing or                          We may examine and audit your books and re-
                                  delivering to us advance written notice of                            cords as they relate to this policy at any time dur-
                                  cancellation.                                                         ing the policy period and up to three years after-
                               2. We may cancel this policy or any Coverage                             ward.
                                       Part by mailing or delivering to the first                  D. INSPECTIONS AND SURVEYS
                                       Named Insured written notice of cancellation                     1. We have the right to:
                                       at least:
                                                                                                             a. Make inspections and surveys at any
                                       a. 10 days before the effective date of can-                                time;
                                           cellation if we cancel for nonpayment of
                                           premium; or                                                       b. Give you reports on the conditions we
                                                                                                                find; and
                                       b. 30 days before the effective date of can-
                                           cellation if we cancel for any other rea-                         c. Recommend changes.
                                           son.                                                         2. We are not obligated to make any inspec-
                               3. We will mail or deliver our notice to the first                            tions, surveys, reports or recommendations
                                       Named lnsured's last mailing address known                            and any such actions we do undertake relate
                                       to us.                                                                only to insurability and the premiums to be
                                                                                                             charged. We do not make safety inspections..
                               4. Notice of cancellation will state the effective                            We do not undertake to perform the duty of
                                       date of cancellation. If the policy is cancelled,                     any person or organization to provide for the
                                       that date will become the end of the policy                           health or safety of workers or the public. And
                                       period. If a Coverage Part is cancelled, that                         we do not warrant that conditions:
                                       date will become the end of the policy period
                                       as respects that Coverage Part only.                                  a. Are safe or healthful; or
                               5. If this policy or any Coverage Part is can-                                 b. Comply with laws, regulations, codes or
                                       celled, we will send the first Named Insured                                standards.
                                       any premium refund due. lfwe cancel, the re-                     3. Paragraphs 1. and 2. of this condition apply
                                       fund will be pro rata. If the first Named In-                         not only to us, but also to any rating, advi-
                                       sured cancels, the refund may be less than                            sory, rate service or similar organization
                                       pro rata. The cancellation will be effective                          which makes insurance inspections, surveys,
                                       even if we have not made or offered a re-                             reports or recommendations.
                                       fund.                                                            4.   Paragraph 2. of this condition does not apply
                               6.      If notice is mailed, proof of mailing will be                         to any inspections, surveys, reports or rec-
                                       sufficient proof of notice.                                           ommendations we may make relative to certi-
                         B. CHANGES                                                                          fication, under state or municipal statutes, or-
                                                                                                             dinances or regulations, of boilers, pressure
                               This policy contains all the agreements between                               vessels or elevators.
                               you and us concerning the insurance afforded.
                               The first Named Insured shown in the Declara-                       E. PREMIUMS
                               tions is authorized to make changes in the terms                          1. The first Named Insured shown in the Decla-
                               of this policy with our consent. This policy's terms                         rations:
                               can be amended or waived only by endorsement                                   a.   Is responsible for the payment of all pre-
                               issued by us as part of this policy.                                                miums; and
                                                                                                             b. Will be the payee for any return premi-
                                                                                                                ums we pay.




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     2. We compute all premiums for this policy in                              3.   Standard Property forms including, but not
         accordance with our rules, rates, rating plans,                             limited to, the following:
         premiums and minimum premiums. The pre-                                     a. Building and Personal Property Coverage
         mium shown in the Declarations was com-                                           Form;
         puted based on rates and rules in effect at
         the time the policy was issued. On each re-                                 b. Business Income Coverage Form;
         newal, continuation or anniversary of the ef-                               c. Commercial Property Conditions;
         fective date of this policy, we will compute
                                                                                     d. Condominium             Association     Coverage
         the premium in accordance with our rates
                                                                                           Form;
         and rules then in effect.
  F. TRANSFER OF YOUR RIGHTS AND DUTIES
                                                                                     e.    Condominium Commercial Unit-Owners
                                                                                           Coverage Form;
     UNDER THIS POLICY
                                                                                     f. Causes of Loss Basic Form;
     Your rights and duties under this policy may not
     be transferred without our written consent except                               g. Causes of Loss Special Form; and
     in the case of death of an individual named in-                                  h. Causes of Loss Earthquake Form.
     sured.
                                                                                     Endorsements referencing the Commercial
     If you die, your rights and duties will be trans-                               Property Coverage Part or the Standard
     ferred to your legal representative but only while                              Property Forms referenced above apply to
     acting within the scope of duties as your legal                                 the Businessowners Property Coverage Spe-
     representative. Until your legal representative is                              cial Form in the same manner as they apply
     appointed, anyone having proper temporary cus-                                  to the forms they reference.
     tody of your property will have your rights and
                                                                                     Endorsements referencing the Commercial
     duties but only with respect to that property.
                                                                                     General liability Coverage Part apply to the
  G. BUSINESSOWNERS COVERAGE PART                                                    Commercial General Liability Coverage Form
     REFERENCES TO FORMS AND ENDORSE-                                                (included in the Businessowners Coverage
     MENTS                                                                           Part) in the same manner as they apply to the
      In some instances, the Common Policy Declara-                                  form they reference.
      tions may list endorsements included in the Busi-                    H. INSURANCE UNDER TWO OR MORE COVER-
      nessowners Coverage Part that reference:                                AGE PARTS
     1. The Commercial Property Coverage Part;                                If two or more of this policy's Coverage Parts ap-
     2. The Commercial General Liability or Liquor                            ply to the same loss or damage, we will not pay
          Liability Coverage Part; or                                         more than the actual amount of the loss or dam-
                                                                              age.
  This policy consists of the Common Policy Declarations and the Coverage Parts and endorsements listed in that
  declarations form.
  In return for payment of the premium, we agree with the Named Insured to provide the insurance afforded by a
  Coverage Part forming part of this policy. That insurance will be provided by the company indicated as insuring
  company in the Common Policy Declarations by the abbreviation of its name opposite that Coverage Part
  One of the companies listed below (each a stock company) has executed this policy, and this policy is counter-
  signed by the officers listed below:
  The Travelers Indemnity Company (IND)
  The Phoenix Insurance Company (PHX)
  The Charter Oak Fire Insurance Company (COF)
  Travelers Property Casualty Company of America (TIL)
  The Travelers Indemnity Company of Connecticut (TCT)
  The Travelers Indemnity Company of America (TIA)
  Travelers Casualty Insurance Company of America (ACJ)




         tJ~C.~                                                                      ~-OLlu,_
               Secretary                                                                              President


  Page 2 of2        Includes the copyrighted material of Insurance Services Office, Inc. with its pennission.   IL T3 15 09 07 (Rev. 03-11)
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                TRAVELERSJ                                         One Tower Square, Hartford, Connecticut 06183

                ADDITIONAL LOCATIONS                             POLICY NO.: 680-6C420563-13-42
                OFFICE PAC                                       ISSUE DATE: 12/19/2012



                                        THIS SCHEDULE OF LOCATIONS AND BUILDINGS APPLIES
                                          TO THE COMMON DECLARATIONS FOR THE PERIOD

                                                      Ol/Ol/2013to 01/01/2014


                PREMISES
                LOCATION         BUILDING
                NUMBER           NUMBER     OCCUPANCY               ADDRESS
                  001             001        INSURANCE AGENTS       2000 LENOX DR
                                                                    LAWRENCEVILLE                 NJ 08648

                  002             001       INSURANCE AGENTS        200 W STATE ST
                                                                    TRENTON                       NJ 08608              1
                                                                                                                       ".I
                  003             001       INSURANCE AGENTS        317 CLEVELAND AVE                                  ;j
                                                                                                                       ';
                                                                    HIGHLAND PARK                 NJ 08904

                  004             001       INSURANCE AGENTS        216 PENN ST
                                                                    NEW BETHLEHEM                 PA 16242




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                                                                                  ;->---




    GENERAL LIABILITY
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                       KEY TO DECLARATIONS PREMIUM SCHEDULE




    ABBREVIATIONS:

        - CLASS DE SCRIP - means CLASS DESCRIPTION

        - LOG/BLDG NO. - means LOCATION/BUILDING NUMBER

        - OPN NO. - means OPERATION NUMBER

        - PREM/OPS - means PREMISES/OPERATIONS

        - PROD/C-OPS - means PRODUCTS/COMPLETED OPERATIONS


    PREMIUM BASE:
                                                                                                               }~~
         Key Letter               Premium Base                       How Rates Apply
                                                                                                               ,._

            a                       Area                             per 1,000 square feet

            c                       Total Cost                       per $1,000 of total cost

            m                       Admissions                       per 1,000 admissions

            p                       Payroll                          per $1, 000 of payroll

            s                       Gross Sales                      per $1,000 of gross sales

            t                       (see note* below)                (see note* below)

             u                      Units                            per unit



                                  *Premium base tis used for a number of rarely used premium bases.
                                  The specific base and how rates apply are shown with the Class Description
                                  on the DECLARATIONS-PREMIUM SCHEDULE.




     CG TO OB 07 86
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                                               CG 00 0110 01

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                                                                                                                               Beginning on Page
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                                                                            COMMERCIAL GENERAL LIABILl1Y



     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
  Various prov1s1ons in this policy restrict coverage.              (1) The "bodily injury" or "property damage"
  Read the entire policy carefully to determine rights,                 is caused by an "occurrence" that takes
  duties and what is and is not covered.                                place in the "coverage territory";
  Throughout this policy the words "you" and "your"                 {2) The "bodily injury" or "property damage"
  refer to the Named Insured shown in the Declarations,                 occurs during the policy period; and
  and any other person or organization qualifying as a              (3) Prior to the policy period, no insured
  Named Insured under this policy. The words "we",                      listed under Paragraph 1. of Section II -
  "us" and "our" refer to the company providing this                    Who Is An Insured and no "employee"
  insurance.                                                            authorized by you to give or receive no-
  The word "insured" means any person or organization                   tice of an "occurrence" or claim, knew
  qualifying as such under Section II - Who Is An                       that the "bodily injury" or "property dam-
  Insured.                                                              age" had occurred, in whole or in part. If
  Other words and phrases that appear in quotation                      such a listed insured or authorized "em-
  marks have special meaning. Refer to Section V -                      ployee" knew, prior to the policy period,
  Definitions.                                                          that the "bodily injury" or "property dam-
                                                                        age" occurred, then any continuation,
  SECTION I - COVERAGES                                                 change or resumption of such "bodily in-
  COVERAGE A BODILY INJURY AND PROPERTY                                 jury" or "property damage" during or after
  DAMAGE LIABILITY                                                      the policy period will be deemed to have
  1. Insuring Agreement                                                 been known prior to the policy period.

     a. We will pay those sums that the insured be-              c. "Bodily injury" or "property damage" which
         comes legally obligated to pay as damages                  occurs during the policy period and was not,
         because of "bodily injury" or "property dam-               prior to the policy period, known to have oc-
         age" to which this insurance applies. We will              curred by any insured listed under Paragraph
         have the right and duty to defend the insured              1. of Section II - Who ls An Insured or any
         against any "suit" seeking those damages.                  "employee" authorized by you to give or re-
         However, we will have no duty to defend the                ceive notice of an "occurrence" or claim, in-
         insured against any "suit" seeking damages                 cludes any continuation, change or resump-
         for "bodily injury" or "property damage" to                tion of that "bodily injury" or "property
         which this insurance does not apply. We may,               damage" after the end of the policy period.
         at our discretion, investigate any "occurrence"        d. "Bodily injury" or "property damage" will be
         and settle any claim or "suif' that may result.            deemed to have been known to have oc-
         But:                                                       curred at the earliest time when any insured
         (1) The amount we will pay for damages is                  listed under Paragraph 1. of Section II - Who
             limited as described in Section Ill - Limits           Is An Insured or any "employee" authorized
             Of Insurance; and                                      by you to give or receive notice of an "occur-
                                                                    rence" or claim:
         (2) Our right and duty to defend ends when
             we have used up the applicable limit of                (1) Reports all, or any part, of the "bodily in-
             insurance in the payment of judgments or                   jury" or "property damage" to us or any
             settlements under Coverages A or B or                      other insurer;
             medical expenses under Coverage C.                     (2) Receives a written or verbal demand or
         No other obligation or liability to pay sums or                claim for damages because of the "bodily
         perform acts or services is covered unless                     injury" or "property damage"; or
         explicitly provided for under Supplementary                (3) Becomes aware by any other means that
         Payments - Coverages A and B.                                  "bodily injury" or "property damage" has
     b. This insurance applies to "bodily injury" and                   occurred or has begun to occur.
         "property damage" only if:



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     e.   Damages because of "bodily injury" include                    (3) Any statute, ordinance or regulation relat-
          damages claimed by any person or organiza-                        ing to the sale, gift, distribution or use of
          tion for care, loss of services or death result-                  alcoholic beverages.
          ing at any time from the "bodily injury".                     This exclusion applies only if you are in the
  2. Exclusions                                                         business of manufacturing, distributing, sell-
     This insurance does not apply to:                                  ing, serving or furnishing alcoholic beverages.

     a.   Expected Or Intended Injury                              d. Workers' Compensation And Similar Laws

          "Bodily injury" or "property damage" expected                 Any obligation of the insured under a workers'
          or intended from the standpoint of the in-                    compensation, disability benefits or unem-
          sured. This exclusion does not apply to "bod-                 ployment compensation law or any similar
          ily injury" resulting from the use of reasonable              law.
          force to protect persons or property.                    e.   Emp layer's Liability
     b. Contractual Liability                                           "Bodily injury" to:
          "Bodily injury" or "property damage" for which                {1) An "employee" of the insured arising out
          the insured is obligated to pay damages by                        of and in the course of:
          reason of the assumption of liability in a con-                   {a) Employment by the insured; or
          tract or agreement. This exclusion does not
          apply to liability for damages:                                   (b) Performing duties related to the con-
                                                                                 duct of the insured's business; or
          (1) That the insured would have in the ab-
              sence of the contract or agreement; or                    (2) The spouse, child, parent, brother or sis-
                                                                            ter of that "employee" as a consequence
          (2) Assumed in a contract or agreement that                       of Paragraph (1) above.
              is an "insured contract", provided the
              "bodily injury" or "property damage" oc-                  This exclusion applies:
              curs subsequent to the execution of the                   (1) Whether the insured may be liable as an
              contract or agreement. Solely for the pur-                    employer or in any other capacity; and
              poses of liability assumed in an "insured                 (2) To any obligation to share damages with
              contract", reasonable attorney fees and
                                                                            or repay someone else who must pay
              necessary litigation expenses incurred by                     damages because of the injury.
              or for a party other than an insured are
              deemed to be damages because of "bod-                     This exclusion does not apply to liability as-
              ily injury" or "property damage", provided:               sumed by the insured under an "insured con-
                                                                        tract".
              (a) Liability to such party for, or for the
                  cost of, that party's defense has also           f.   Pollution
                  been assumed in the same "insured                     (1) "Bodily injury" or "property damage" aris-
                  contract"; and                                            ing out of the actual, alleged or threat-
              (b) Such attorney fees and litigation ex-                     ened discharge, dispersal, seepage, mi-
                       penses are for defense of that party                 gration, release or escape of "pollutants":
                       against a civil or alternative dispute               (a) At or from any premises, site or loca-
                       resolution proceeding in which dam-                      tion which is or was at any time
                       ages to which this insurance applies                     owned or occupied by, or rented or
                       are alleged.                                             loaned to, any insured. However, this
                                                                                subparagraph does not apply to:
     c.   Liquor Liability
          "Bodily injury" or "property damage" for which
                                                                                 (i) "Bodily injury" if sustained within
                                                                                     a building and caused by smoke,
          any insured may be held liable by reason of:
                                                                                     fumes, vapor or soot from equip-
          (1) Causing or contributing to the intoxication                            ment used to heat that building;
              of any person;
                                                                                 (ii) "Bodily injury" or "property dam-
          (2) The furnishing of alcoholic beverages to a                             age" for which you may be held
              person under the legal drinking age or                                 liable, if you are a contractor and
              under the influence of alcohol; or                                     the owner or lessee of such



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                      premises, site or location has                             "bodily injury" or "property dam-
                      been added to your policy as an                            age" arises out of the intentional
                      additional insured with respect to                         discharge, dispersal or release of
                      your ongoing operations per-                               the fuels, lubricants or other op-
                      formed for that additional insured                         erating fluids, or if such fuels, lu-
                      at that premises, site or location                         bricants or other operating fluids
                      and such premises, site or loca-                           are brought on or to the prem-
                      tion is not and never was owned                            ises, site or location with the in-
                      or occupied by, or rented or                               tent that they be discharged, dis-
                      loaned to, any insured, other than                         persed or released as part of the
                      that additional insured; or                                operations being performed by
                  {iii) "Bodily injury" or "property dam-                        such insured, contractor or sub-
                        age" arising out of heat, smoke or                       contractor;
                        fumes from a "hostile fire";                         (ii) "Bodily injury" or "property dam-
            (b) At or from any premises, site or loca-                            age" sustained within a building
                tion which is or was at any time used                             and caused by the release of
                by or for any insured or others for the                           gases, fumes or vapors from ma-
                handling, storage, disposal, process-                             terials brought into that building in
                ing or treatment of waste;                                        connection with operations being
                                                                                  performed by you or on your be-
            (c) Which are or were at any time trans-                              half by a contractor or subcon-
                ported, handled, stored, treated, dis-                            tractor; or
                posed of, or processed as waste by
                or for:                                                      (iii) "Bodily injury" or "property dam-
                                                                                   age" arising out of heat, smoke or
                (i) Any insured; or
                                                                                   fumes from a "hostile fire".
                  (ii) Any person or organization for
                                                                         (e) At or from any premises, site or loca-
                       whom you may be legally re-
                                                                             tion on which any insured or any con-
                       sponsible; or
                                                                             tractors or subcontractors working di-
            (d) At or from any premises, site or loca-                       rectly or indirectly on any insured's
                tion on which any insured or any con-                        behalf are performing operations if
                tractors or subcontractors working di-                       the operations are to test for, monitor,
                rectly or indirectly on any insured's                        clean up, remove, contain, treat, de-
                behalf are performing operations if                          toxify or neutralize, or in any way re-
                the "pollutants" are brought on or to                        spond to, or assess the effects of,
                the premises, site or location in con-                       "pollutants".
                nection with such operations by such
                                                                     (2) Any loss, cost or expense arising out of
                insured, contractor or subcontractor.
                                                                         any:
                However, this subparagraph does not
                apply to:                                                (a) Request, demand, order or statutory
                                                                             or regulatory requirement that any in-
                  {i) "Bodily injury" or "property dam-
                                                                             sured or others test for, monitor,
                      age" arising out of the escape of
                                                                             clean up, remove, contain, treat, de-
                      fuels, lubricants or other operat-
                                                                             toxify or neutralize, or in any way re-
                      ing fluids which are needed to
                                                                             spond to, or assess the effects of,
                      perform the normal electrical, hy-
                                                                             "pollutants"; or
                      draulic or mechanical functions
                      necessary for the operation of                     (b) Claim or "suit" by or on behalf of a
                      "mobile equipment" or its parts, if                    governmental authority for damages
                      such fuels, lubricants or other                        because of testing for, monitoring,
                      operating fluids escape from a                         cleaning up, removing, containing,
                      vehicle part designed to hold,                         treating, detoxifying or neutralizing, or
                      store or receive them. This ex-                        in any way responding to, or (3Ssess-
                      ception does not apply if the                          ing the effects of, "pollutants".



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            However, this paragraph does not apply                   (2) The use of "mobile equipment" in, or
            to liability for damages because of "prop-                   while in practice for, or while being pre-
            erty damage" that the insured would have                     pared for, any prearranged racing, speed,
            in the absence of such request, demand,                      demolition, or stunting activity.
            order or statutory or regulatory require-           i.   War
            ment, or such claim or "suit" by or on be-
            half of a governmental authority.                        "Bodily injury" or "property damage" due to
                                                                     war, whether or not declared, or any act or
     g. Aircraft, Auto Or Watercraft                                 condition incident to war. War includes civil
        "Bodily injury" or "property damage" arising                 war, insurrection, rebellion or revolution. This
        out of the ownership, maintenance, use or en-                exclusion applies only to liability assumed
        trustment to others of any aircraft, "auto" or               under a contract or agreement.
        watercraft owned or operated by or rented or            j.   Damage To Property
        loaned to any insured. Use includes operation
        and "loading or unloading".                                  "Property damage" to:
        This exclusion applies even if the claims                    (1) Property you own, rent, or occupy, includ-
        against any insured allege negligence or                         ing any costs or expenses incurred by
        other wrongdoing in the supervision, hiring,                     you, or any other person, organization or
        employment, training or monitoring of others                     entity, for repair, replacement, enhance-
        by that insured, if the "occurrence" which                       ment, restoration or maintenance of such
        caused the "bodily injury" or "property dam-                     property for any reason, including preven-
        age" involved the ownership, maintenance,                        tion of injury to a person or damage to
        use or entrustment to others of any aircraft,                    another's property;
        "auto" or watercraft that is owned or operated               (2) Premises you sell, give away or abandon,
        by or rented or loaned to any insured.                           if the "property damage" arises out of any
        This exclusion does not apply to:                                part of those premises;
         (1) A watercraft while ashore on premises                   (3) Property loaned to you;
             you own or rent;                                        (4) Personal property in the care, custody or
        (2) A watercraft you do not own that is:                         control of the insured;
            (a) Less than 26 feet long; and                          (5) That particular part of real property on
                                                                         which you or any contractors or subcon-
            (b) Not being used to carry persons or                       tractors working directly or indirectly on
                property for a charge;                                   your behalf are performing operations, if
        (3) Parking an "auto" on, or on the ways next                    the "property damage" arises out of those
            to, premises you own or rent, provided                       operations; or
            the "auto" is not owned by or rented or                  (6) That particular part of any property that
            loaned to you or the insured;                                must be restored, repaired or replaced
        (4) Liability assumed under any "insured con-                    because "your work" was incorrectly per-
            tract" for the ownership, maintenance or                     formed on it.
            use of aircraft or watercraft; or                        Paragraphs (1), (3) and (4) of this exclusion
        (5) "Bodily injury" or "property damage" aris-               do not apply to "property damage" (other than
            ing out of the operation of any of the                   damage by fire) to premises, including the
            equipment listed in Paragraph f.(2) or                   contents of such premises, rented to you for a
            f.(3) of the definition of "mobile equip-                period of 7 or fewer consecutive days. A
            ment".                                                   separate limit of insurance applies to Damage
     h. Mobile Equipment                                             To Premises Rented To You as described in
                                                                     Section Ill- Limits Of Insurance.
        "Bodily injury" or "property damage" arising
        outot                                                        Paragraph (2) of this exclusion does not apply
                                                                     if the premises are "your work" and were
        (1) The transportation of "mobile equipment"                 never occupied, rented or held for rental by
            by an "auto" owned or operated by or                     you.
            rented or loaned to any insured; or



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                      Paragraphs (3), (4), (5) and (6) of this exclu-                         o. Personal And Advertising Injury
                      sion do not apply to liability assumed under a                             "Bodily injury" arising out of "personal and
                      sidetrack agreement.                                                       advertising injury".
                      Paragraph (6) of this exclusion does not apply                          Exclusions c. through n. do not apply to damage
                      to "property damage" included in the "prod-                             by fire to premises while rented to you or tempo-
                      ucts-completed operations hazard".                                      rarily occupied by you with permission of the
                 k.   Damage To Your Product                                                  owner. A separate limit of insurance applies to
                      "Property damage" to "your product" arising                             this coverage as described in Section Ill - Limits
                      out of it or any part of it.                                            Of Insurance.
                 I.   Damage To Your Work                                  COVERAGE B PERSONAL AND ADVERTISING
                                                                           INJURY LIABILITY
                      "Property damage" to "your work" arising out
                      of it or any part of it and included in the          1. Insuring Agreement
                      "products-completed operations hazard".                                 a. We will pay those sums that the insured be-
                      This exclusion does not apply if the damaged                               comes legally obligated to pay as damages
                      work or the work out of which the damage                                   because of "personal and advertising injury"
                      arises was performed on your behalf by a                                   to which this insurance applies. We will have
                      subcontractor.                                                             the right and duty to defend the insured
                                                                                                 against any "suit" seeking those damages.
                 m. Damage To Impaired Property Or Property                                      However, we will have no duty to defend the
                    Not Physically Injured                                                       insured against any "suit" seeking damages
                      "Property damage" to "impaired property" or                                for "personal and advertising injury" to which
                      property that has not been physically injured,                             this insurance does not apply. We may, at our
                      arising out of:                                                            discretion, investigate any offense and settle
                      (1) A defect, deficiency, inadequacy or dan-                               any claim or "suit" that may result. But:
                          gerous condition in "your product" or                                   (1) The amount we will pay for damages is
                          "your work"; or                                                             limited as described in Section Ill - Limits
                      (2) A delay or failure by you or anyone acting                                  Of Insurance; and
                          on your behalf to perform a contract or                                 (2) Our right and duty to defend end when
                          agreement in accordance with its terms.                                     we have used up the applicable limit of
                      This exclusion does not apply to the loss of                                    insurance in the payment of judgments or
                      use of other property arising out of sudden                                     settlements under Coverages A or B or
                      and accidental physical injury to "your prod-                                   medical expenses under Coverage C.
                      uct" or "your work" after it has been put to its                            No other obligation or liability to pay sums or
                      intended use.                                                               perform acts or services is covered unless
                 n. Recall Of Products, Work Or Impaired                                          explicitly provided for under Supplementary
                    Property                                                                      Payments - Coverages A and B.
                      Damages claimed for any loss, cost or ex-                               b. This insurance applies to "personal and ad-
                      pense incurred by you or others for the loss of                            vertising injury" caused by an offense arising
                      use, withdrawal, recall, inspection, repair, re-                           out of your business but only if the offense
                      placement, adjustment, removal or disposal                                 was committed in the "coverage territory" dur-
                      of:                                                                        ing the policy period.
                                                                           2.                 Exclusions
                      (1) "Your product";
                                                                                              This insurance does not apply to:
                      (2) ''Your work"; or
                                                                                              a. Knowing Violation Of Rights Of Another
                      (3) "Impaired property";
                                                                                                 "Personal and advertising injury" caused by
                      if such product, work, or property is withdrawn
                      or recalled from the market or from use by                                 or at the direction of the insured with the
                                                                                                 knowledge that the act would violate the
                      any person or organization because of a
                      known or suspected defect, deficiency, in-                                 rights of another and would inflict "personal
                      adequacy or dangerous condition in it.                                     and advertising injury".



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     b. Material Published With Knowledge Of                    j.    Insureds In Media And Internet Type Busi-
        Falsity                                                       nesses
          "Personal and advertising injury" arising out               "Personal and advertising injury" committed
          of oral or written publication of material, if              by an insured whose business is:
          done by or at the direction of the insured with             (1) Advertising, broadcasting, publishing or
          knowledge of its falsity.                                       telecasting;
     c. Material Published Prior To Policy Period                     (2) Designing or determining content of web-
          "Personal and advertising injury" arising out                   sites for others; or
          of oral or written publication of material whose            (3) An Internet search, access, content or
          first publication took place before the begin-                  service provider.
          ning of the policy period.
                                                                      However, this exclusion does not apply to
     d. Criminal Acts                                                 Paragraphs 14.a., b. and c. of "personal and
          "Personal and advertising injury" arising out               advertising injury" under the Definitions Sec-
          of a criminal act committed by or at the direc-             tion.
          tion of the insured.                                        For the purposes of this exclusion, the placing
     e. Contractual Liability                                         of frames, borders or links, or advertising, for
        "Personal and advertising injury" for which the               you or others anywhere on the Internet, is not
        insured has assumed liability in a contract or                by itself, considered the business of advertis-
        agreement. This exclusion does not apply to                   ing, broadcasting, publishing or telecasting.
        liability for damages that the insured would             k. Electronic Chatrooms Or Bulletin Boards
        have in the absence of the contract or                        "Personal and advertising injury" arising out
        agreement.                                                    of an electronic chatroom or bulletin board the
     f. Breach Of Contract                                            insured hosts, owns, or over which the in-
          "Personal and advertising injury" arising out               sured exercises control.
          of a breach of contract, except an implied             I.   Unauthorized Use Of Another's Name Or
          contract to use another's advertising idea in               Product
          your "advertisement".                                       "Personal and advertising injury" arising out
     g. Quality Or Performance Of Goods - Fail-                       of the unauthorized use of another's name or
          ure To Conform To Statements                                product in your e-mail address, domain name
          "Personal and advertising injury" arising out               or metatag, or any other similar tactics to mis-
          of the failure of goods, products or services to            lead another's potential customers.
          conform with any statement of quality or per-          m. Pollution
          formance made in your "advertisement".                      "Personal and advertising injury" arising out
     h. Wrong Description Of Prices                                   of the actual, alleged or threatened discharge,
          "Personal and advertising injury" arising out               dispersal, seepage, migration, release or es-
          of the wrong description of the price of goods,             cape of "pollutants" at any time.
          products or services stated in your "adver-            n. Pollution-Related
          tisement".                                                Any loss, cost or expense arising out of any:
     i.   Infringement Of Copyright, Patent, Trade-                   (1) Request, demand or order that any in-
          mark Or Trade Secret                                            sured or others test for, monitor, clean up,
          "Personal and advertising injury" arising out                   remove, contain, treat, detoxify or neutral-
          of the infringement of copyright, patent,                       ize, or in any way respond to, or assess
          trademark, trade secret or other intellectual                   the effects of, "pollutants"; or
          property rights.                                            (2) Claim or suit by or on behalf of a govern-
          However, this exclusion does not apply to in-                   mental authority for damages because of
          fringement, in your "advertisement", of copy-                   testing for, monitoring, cleaning up, re-
          right, trade dress or slogan.                                   moving, containing, treating, detoxifying
                                                                          or neutralizing, or in any way responding



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                          to, or assessing the effects of, "pollut-               d. Workers Compensation And Similar
                          ants".                                                     Laws
               COVERAGE C MEDICAL PAYMENTS                                           To a person, whether or not an "em-
                                                                                     ployee" of any insured, if benefits for the
               1. Insuring Agreement                                                 "bodily injury" are payable or must be
                  a. We will pay medical expenses as described                       provided under a workers' compensation
                      below for "bodily injury" caused by an acci-                   or disability benefits law or a similar law.
                      dent:                                                       e. Athletics Activities
                      (1) On premises you own or rent;                                   To a person injured while taking part in
                      (2) On ways next to premises you own or                            athletics.
                          rent; or                                                f.     Products-Completed Operations Haz-
                      (3) Because of your operations;                                    ard
                      provided that:                                                     Included within the "products-completed
                      (1) The accident takes place in the "coverage                      operations hazard".
                          territory" and during the policy period;                g. Coverage A Exclusions
                      (2) The expenses are incurred and reported                         Excluded under Coverage A.
                          to us within one year of the date of the                h. War
                          accident; and
                                                                                     Due to war, whether or not declared, or
                      (3) The injured person submits to examina-                     any act or condition incident to war. War
                          tion, at our expense, by physicians of our                 includes civil war, insurrection, rebellion
                          choice as often as we reasonably require.                  or revolution.
                   b. We will make these payments regardless of          SUPPLEMENTARY PAYMENTS - COVERAGES A
                      fault. These payments will not exceed the ap-      ANDB
                      plicable limit of insurance. We will pay rea-
                                                                         1. We will pay, with respect to any claim we investi-
                      sonable expenses for:
                                                                            gate or settle, or any "suit" against an insured we
                       (1) First aid administered at the time of an         defend:
                           accident;
                                                                            a. All expenses we incur.
                       (2) Necessary medical, surgical, x-ray and
                                                                            b. Up to $250 for cost of bail bonds required be-
                           dental services, including prosthetic de-
                                                                                cause of accidents or traffic law violations
                           vices; and
                                                                                arising out of the use of any vehicle to which
                       (3) Necessary ambulance, hospital, profes-               the Bodily Injury Liability Coverage applies.
                           sional nursing and funeral services.                 We do not have to furnish these bonds.
                   2. Exclusions                                             c. The cost of bonds to release attachments, but
                      We will not pay expenses for "bodily injury'':            only for bond amounts within the applicable
                                                                                limit of insurance. We do not have to furnish
                       a. Any Insured
                                                                                these bonds.
                          To any insured, except "volunteer work-
                                                                             d. All reasonable expenses incurred by the in-
                          ers".
                                                                                sured at our request to assist us in the inves-
                       b. Hired Person                                          tigation or defense of the claim or "suit", in-
                          To a person hired to do work for or on                cluding actual loss of earnings up to $250 a
                          behalf of any insured or a tenant of any              day because of time off from work.
                          insured.                                           e. All costs taxed against the insured in the
                       c. Injury On Normally Occupied Premises                  "suit".
                          To a person injured on that part of prem-          f.        Prejudgment interest awarded against the in-
                          ises you own or rent th.at the person nor-                   sured on that part of the judgment we pay. If
                          mally occupies.                                              we make an offer to pay the applicable limit of
                                                                                       insurance, we will not pay any prejudgment




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             interest based on that period of time after the                  (a) Obtain records and other information
             offer.                                                               related to the "suit"; and
        g. All interest on the full amount of any judgment                    (b) Conduct and control the defense of
           that accrues after entry of the judgment and                           the indemnitee in such "suit".
           before we have paid, offered to pay, or de-                So long as the above conditions are met, attor-
           posited in court the part of the judgment that             neys' fees incurred by us in the defense of that
           is within the applicable limit of insurance.               indemnitee, necessary litigation expenses in-
        These payments will not reduce the limits of in-              curred by us and necessary litigation expenses
        surance.                                                      incurred by the indemnitee at our request will be
   2.   If we defend an insured against a "suit" and an               paid as Supplementary Payments. Notwithstand-
        indemnitee of the insured is also named as a                  ing the provisions of Paragraph 2.b.(2) of Section
        party to the "suit", we will defend that indemnitee           I - Coverage A - Bodily Injury And Property
        if all of the following conditions are met                    Damage Liability, such payments will not be
                                                                      deemed to be damages for "bodily injury" and
        a. The "suit" against the indemnitee seeks dam-               "property damage" and will not reduce the limits
           ages for which the insured has assumed the                 of insurance.
           liability of the indemnitee in a contract or
           agreement that is an "insured contract";                   Our obligation to defend an insured's indemnitee
                                                                      and to pay for attorneys' fees and necessary liti-
        b. This insurance applies to such liability as-               gation expenses as Supplementary Payments
           sumed by the insured;                                      ends when:
        c. The obligation to defend, or the cost of the               a. We have used up the applicable limit of in-
           defense of, that indemnitee, has also been                    surance in the payment of judgments or set-
           assumed by the insured in the same "insured                   tlements; or
           contract";
                                                                      b. The conditions set forth above, or the terms
        d. The allegations in the "suit" and the informa-                of the agreement described in Paragraph f.
           tion we know about the "occurrence" are such                  above, are no longer met.
           that no conflict appears to exist between the
           interests of the insured and the interests of          SECTION II - WHO IS AN INSURED
           the indemnitee;                                        1. If you are designated in the Declarations as:
        e. The indemnitee and the insured ask us to                   a. An individual, you and your spouse are insur-
           conduct and control the defense of that in-                   eds, but only with respect to the conduct of a
           demnitee against such "suit" and agree that                   business of which you are the sole owner.
           we can assign the same counsel to defend                   b. A partnership or joint venture, you are an in-
           the insured and the indemnitee; and                           sured. Your members, your partners, and
        f.   The indemnitee:                                             their spouses are also insureds, but only with
             (1) Agrees in writing to:                                   respect to the conduct of your business.
                      (a) Cooperate with us in the investiga-         c. A limited liability company, you are an in-
                          tion, settlement or defense of the             sured. Your members are also insureds, but
                          "suit";                                        only with respect to the conduct of your busi-
                                                                         ness. Your managers are insureds, but only
                      (b) Immediately send us copies of any              with respect to their duties as your managers.
                          demands, notices, summonses or le-
                          gal papers received in connection           d. An organization other than a partnership, joint
                          with the "suit";                               venture or limited liability company, you are
                                                                         an insured. Your "executive officers" and di-
                      (c) Notify any other insurer whose cov-            rectors are insureds, but only with respect to
                          erage is available to the indemnitee;          their duties as your officers or directors. Your
                          and                                            stockholders are also insureds, but only with
                      (d) Cooperate with us with respect to co-          respect to their liability as stockholders.
                          ordinating other applicable insurance      e. A trust, you are an insured. Your trustees are
                          available to the indemnitee; and              also insureds, but only with respect to their
             (2) Provides us with written authorization to:             duties as trustees.


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                                                                                                                                                COMMERCIAL GENERAL LIABILITY


  2. Each of the following is also an insured:                                                                    b. Any person (other than your "employee" or
     a.   Your "volunteer workers" only while perform-                                                               "volunteer worker''), or any organization while
          ing duties related to the conduct of your busi-                                                            acting as your real estate manager.
          ness, or your "employees", other than either                                                            c. Any person or organization having proper
          your "executive officers" (if you are an organi-                                                           temporary custody of your property if you die,
          zation other than a partnership, joint venture                                                             but only:
          or limited liability company) or your managers                                                                    (1) With respect to liability arising out of the
          (if you are a limited liability company), but                                                                         maintenance or use of that property; and
          only for acts within the scope of their em-
          ployment by you or while performing duties                                                                        (2) Until your legal representative has been
          related to the conduct of your business. How-                                                                         appointed.
          ever, none of these "employees" or "volunteer                                                           d. Your legal representative if you die, but only
          workers" are insureds for:                                                                                 with respect to duties as such. That represen-
          (1) "Bodily injury" or "personal and advertis-                                                             tative will have all your rights and duties un-
              ing injury":                                                                                           der this Coverage Part.

              {a) To you, to your partners or members                                                    3. With respect to "mobile equipment" registered in
                  (if you are a partnership or joint ven-                                                   your name under any motor vehicle registration
                  ture), to your members (if you are a                                                      law, any person is an insured while driving such
                                                                                                            equipment along a public highway with your per-
                  limited liability company), to a co-
                                                                                                            mission. Any other person or organization re-
                  "employee" while in the course of his
                                                                                                            sponsible for the conduct of such person is also
                  or her employment or performing du-
                                                                                                            an insured, but only with respect to liability arising
                  ties related to the conduct of your
                                                                                                            out of the operation of the equipment, and only if
                  business, or to your other "volunteer
                                                                                                            no other insurance of any kind is available to that
                  workers" while performing duties re-
                                                                                                            person or organization for this liability. However,
                  lated to the conduct of your business;
                                                                                                            no person or organization is an insured with re-
              (b) To the spouse, child, parent, brother                                                     spect to:
                  or sister of that co-"employee" or
                                                                                                                  a. "Bodily injury" to a co-"employee" of the per-
                  "volunteer worker" as a consequence
                                                                                                                     son driving the equipment; or
                  of Paragraph {1)(a) above;
                                                                                                                  b. "Property .damage" to property owned by,
              {c) For which there is any obligation to
                                                                                                                     rented to, m the charge of or occupied by you
                  share damages with or repay some-
                                                                                                                     or the employer of any person who is an in-
                  one else who must pay damages be-
                                                                                                                     sured under this provision.
                  cause of the injury described in Para-
                  graphs {1)(a) or (b) above; or                                                         4. Any organization you newly acquire or form, other
                                                                                                            than a partnership, joint venture or limited liability
              {d) Arising out of his or her providing or                                                    company, and over which you maintain ownership
                  failing to provide professional health                                                    or majority interest, will qualify as a Named In-
                  care services.                                                                            sured if there is no other similar insurance avail-
          (2) "Property damage" to property:                                                                able to that organization. However:
              (a) Owned, occupied or used by,                                                                     a.        Co~erage under this provision is afforded only
              (b) Rented to, in the care, custody or                                                                        until the 90th day after you acquire or form
                  control of, or over which physical con-                                                                   the organization or the end of the policy pe-
                  trol is being exercised for any pur-                                                                      riod, whichever is earlier;
                  pose by                                                                                         b. Coverage A does not apply to "bodily injury"
              you, any of your "employees", "volunteer                                                               or "property damage" that occurred before
              workers", any partner or member (if you                                                                you acquired or formed the organization; and
              are a partnership or joint venture), or any                                                         c. Coverage B does not apply to "personal and
              member (if you are a limited liability com-                                                            advertising injury" arising out of an offense
              pany).                                                                                                 committed before you acquired or formed the
                                                                                                                     organization.




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  COMMERCIAL GENERAL LIABILITY


  No person or organization is an insured with respect       The Limits of Insurance of this Coverage Part apply
  to the conduct of any current or past partnership, joint   separately to each consecutive annual period and to
  venture or limited liability company that is not shown     any remaining period of less than 12 months, starting
  as a Named Insured in the Declarations.                    with the beginning of the policy period shown in the
  SECTION Ill - LIMITS OF INSURANCE                          Declarations, unless the policy period is extended
                                                             after issuance for an additional period of less than 12
  1. The Limits of Insurance shown in the Declarations       months. In that case, the additional period will be
     and the rules below fix the most we will pay re-        deemed part of the last preceding period for purposes
     gardless of the number of:                              of determining the Limits of Insurance.
       a. Insureds;                                          SECTION IV - COMMERCIAL GENERAL LIABILITY
       b. Claims made or "suits" brought; or                 CONDITIONS
       c. Persons or organizations making claims or          1. Bankruptcy
          bringing "suits".                                      Bankruptcy or insolvency of the insured or of the
  2. The General Aggregate Limit is the most we will             insured's estate will not relieve us of our obliga-
     pay for the sum of:                                         tions under this Coverage Part.
       a. Medical expenses under Coverage C;                 2. Duties In The Event Of Occurrence, Offense,
       b. Damages under Coverage A, except dam-                 Claim Or Suit
          ages because of "bodily injury" or "property           a. You must see to it that we are notified as
          damage" included in the "products-completed               soon as practicable of an "occurrence" or an
          operations hazard"; and                                   offense which may result in a claim. To the
       c.   Damages under Coverage B .                              extent possible, notice should include:

  3. The Products-Completed Operations Aggregate                      (1) How, when and where the "occurrerice"
     Limit is the most we will pay under Coverage A                       or offense took place;
     for damages because of "bodily injury" and "prop-                (2) The names and addresses of any injured
     erty damage" included in the "products-completed                     persons and witnesses; and
     operations hazard".                                              (3) The nature and location of any injury or
  4.   Subject to 2. above, the Personal and Advertising                  damage arising out of the "occurrence" or
       Injury Limit is the most we will pay under Cover-                  offense.
       age B for the sum of all damages because of all           b. If a claim is made or "suit" is brought against
       "personal and advertising injury" sustained by any           any insured, you must:
       one person or organization.
                                                                      (1) Immediately record the specifics of the
  5.   Subject to 2. or 3. above, whichever applies, the                  claim or "suit" and the date received; and
       Each Occurrence Limit is the most we will pay for
       the sum of:                                                    (2) Notify us as soon as practicable.
       a. Damages under Coverage A; and                               You must see to it that we receive written no-
                                                                      tice of the claim or "suif' as soon as practica-
       b. Medical expenses under Coverage C                           ble.
       because of all "bodily injury" and "property dam-         c.   You and any other involved insured must
       age" arising out of any one "occurrence".
                                                                      (1) Immediately send us copies of any de-
  6.   Subject to 5. above, the Damage To Premises                        mands, notices, summonses or legal pa-
       Rented To You Limit is the most we will pay un-                    pers received in connection with the claim
       der Coverage A for damages because of "prop-                       or "suit";
       erty damage" to any one premises, while rented
       to you, or in the case of damage by fire, while                (2) Authorize us to obtain records and other
       rented to you or temporarily occupied by you with                  information;
       permission of the owner.                                       (3) Cooperate with us in the investigation or
  7.   Subject to 5. above, the Medical Expense Limit is                  settlement of the claim or defense against
       the most we will pay under Coverage C for all                      the "suif'; and
       medical expenses because of "bodily injury" sus-               (4) Assist us, upon our request, in the en-
       tained by any one person.                                          forcement of any right against any person


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                                                                             COMMERCIAL GENERAL LIABILITY


              or organization which may be liable to the                 (c) That is insurance purchased by you
              insured because of injury or damage to                         to cover your liability as a tenant for
              which this insurance may also apply.                           "property damage" to premises
     d. No insured will, except at that insured's own                        rented to you or temporarily occupied
          cost, voluntarily make a payment, assume                           by you with permission of the owner;
          any obligation, or incur any expense, other                        or
          than for first aid, without our consent.                       (d) If the loss arises out of the mainte-
  3. Legal Action Against Us                                                 nance or use of aircraft, "autos" or
                                                                             watercraft to the extent not subject to
     No person or organization has a right under this                        Exclusion g. of Section I - Coverage
     Coverage Part:                                                          A - Bodily Injury And Property Dam-
     a. To join us as a party or otherwise bring us                          age Liability.
        into a "suit" asking for damages from an in-                 (2) Any other primary insurance available to
        sured; or                                                        you covering liability for damages arising
     b. To sue us on this Coverage Part unless all of                    out of the premises or operations for
          its terms have been fully complied with.                       which you have been added as an addi-
     A person or organization may sue us to recover                      tional insured by attachment of an en-
                                                                         dorsement.
     on an agreed settlement or on a final judgment
     against an insured; but we will not be liable for               When this insurance is excess, we will have
     damages that are not payable under the terms of                 no duty under Coverages A or B to defend
     this Coverage Part or that are in excess of the                 the insured against any "suit" if any other in-
     applicable limit of insurance. An agreed settle-                surer has a duty to defend the insured against
     ment means a settlement and release of liability                that "suit". If no other insurer defends, we will
     signed by us, the insured and the claimant or the               undertake to do so, but we will be entitled to
     claimant's legal representative.                                the insured's rights against all those other in-
  4. Other Insurance                                                 surers.

     If other valid and collectible insurance is available           When this insurance is excess over other in-
     to the insured for a loss we cover under Cover-                 surance, we will pay only our share of the
     ages A or B of this Coverage Part, our obligations              amount of the loss, if any, that exceeds the
     are limited as follows:                                         sum of:

     a.   Primary Insurance                                          (1) The total amount that all such other in-
                                                                         surance would pay for the loss in the ab-
          This insurance is primary except when b. be-                   sence of this insurance; and
          low applies. If this insurance is primary, our
          obligations are not affected unless any of the             (2) The total of all deductible and self-insured
          other insurance is also primary. Then, we will                 amounts under all that other insurance.
          share with all that other insurance by the                 We will share the remaining loss, if any, with
          method described in c. below.                              any other insurance that is not described in
     b. Excess Insurance                                             this Excess Insurance provision and was not
                                                                     bought specifically to apply in excess of the
          This insurance is excess over:                             Limits of Insurance shown in the Declarations
          (1) Any of the other insurance, whether pri-               of this Coverage Part.
              mary, excess, contingent or on any other           c. Method Of Sharing
              basis:
                                                                     If all of the other insurance permits contribu-
              (a) That is Fire, Extended Coverage,                   tion by equal shares, we will follow this
                  Builder's Risk, Installation Risk or               method also. Under this approach each in-
                  similar coverage for "your work";                  surer contributes equal amounts until it has
              (b) That is Fire insurance for premises                paid its applicable limit of insurance or none
                  rented to you or temporarily occupied              of the loss remains, whichever comes first.
                  by you with permission of the owner;               If any of the other insurance does not permit
                                                                     contribution by equal shares, we will contrib-



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                COMMERCIAL GENERAL LIABILITY


                       ute by limits. Under this method, each in-             9. When We Do Not Renew
                       surer's share is based on the ratio of its appli-              If we decide not to renew this Coverage Part, we
                       cable limit of insurance to the total applicable               will mail or deliver to the first Named Insured
                       limits of insurance of all insurers.                           shown in the Declarations written notice of the
                5. Premium Audit                                                      nonrenewal not less than 30 days before the expi-
                   a. We will compute all premiums for this Cover-                    ration date.
                      age Part in accordance with our rules and                       If notice is mailed, proof of mailing will be suffi-
                      rates.                                                          cient proof of notice.
                   b. Premium shown in this Coverage Part as ad-              SECTION V - DEFINITIONS
                       vance premium is a deposit premium only. At            1. "Advertisemenf' means a notice that is broadcast
                       the close of each audit period we will com-                    or published to the general public or specific mar-
                       pute the earned premium for that period and                    ket segments about your goods, products or ser-
                       send notice to the first Named Insured. The                    vices for the purpose of attracting customers or
                       due date for audit and retrospective premi-                    supporters. For the purposes of this definition:
                       ums is the date shown as the due date on the
                       bill. If the sum of the advance and audit pre-                 a. Notices that are published include material
                       miums paid for the policy period is greater                        placed on the Internet or on similar electronic
                       than the earned premium, we will return the                        means of communication; and
                       excess to the first Named Insured.                             b. Regarding web-sites, only that part of a web-
                   c. The first Named Insured must keep records of                       site that is about your goods, products or ser-
                       the information we need for premium compu-                        vices for the purposes of attracting customers
                       tation, and send us copies at such times as                       or supporters is considered an advertisement.
                       we may request.                                        2. "Auto" means a land motor vehicle, trailer or
                6. Representations                                                    semitrailer designed for travel on public roads, in-
                                                                                      cluding any attached machinery or equipment.
                   By accepting this policy, you agree:                               But "auto" does not include "mobile equipmenf'.
                   a. The statements in the Declarations are accu-            3. "Bodily injury" means bodily injury, sickness or
                       rate and complete;                                             disease sustained by a person, including death
                   b. Those statements are based upon represen-                       resulting from any of these at any time.
                       tations you made to us; and                            4. "Coverage territory" means:
                   c. We have issued this policy in reliance upon                     a. The United States of America (including its
                       your representations.                                              territories and possessions), Puerto Rico and
                7. Separation Of Insureds                                                 Canada;
                   Except with respect to the Limits of Insurance,                    b. International waters or airspace, but only if
                   and any rights or duties specifically assigned in                     the injury or damage occurs in the course of
                   this Coverage Part to the first Named Insured,                        travel or transportation between any places
                   this insurance applies:                                               included in a. above; or
                   a. As if each Named Insured were the only                          c. All other parts of the world if the injury or
                       Named Insured; and                                                damage arises out of:
                   b. Separately to each insured against whom                            (1) Goods or products made or sold by you in
                       claim is made or "suit" is brought.                                   the territory described in a. above;
                8. Transfer Of Rights Of Recovery Against oth-                           (2) The activities of a person whose home is
                   ers To Us                                                                 in the territory described in a. above, but
                                                                                             is away for a short time on your business;
                   If the insured has rights to recover all or part of
                                                                                             or
                   any payment we have made under this Coverage
                   Part, those rights are transferred to us. The in-                     (3) "Personal and advertising injury" offenses
                   sured must do nothing after loss to impair them.                          that take place through the Internet or
                   At our request, the insured will bring "suif' or                          similar electronic means of communica-
                   transfer those rights to us and help us enforce                           tion
                   them.


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                   provided the insured's responsibility to pay dam-              damage" to a third person or organization.
                   ages is determined in a "suit" on the merits, in the           Tort liability means a liability that would be
                   territory described in a. above or in a settlement             imposed by law in the absence of any con-
                   we agree to.                                                   tract or agreement.
                5. "Employee" includes a "leased worker''. "Em-                   Paragraph f. does not include that part of any
                    ployee" does not include a "temporary worker''.               contract or agreement:
                6. "Executive officer'' means a person holding any of             (1) That indemnifies a railroad for "bodily in-
                   the officer positions created by your charter, con-                jury" or "property damage" arising out of
                   stitution, by-laws or any other similar governing                  construction or demolition operations,
                   document.                                                          within 50 feet of any railroad property and
                7. "Hostile fire" means one which becomes uncon-                      affecting any railroad bridge or trestle,
                   trollable or breaks out from where it was intended                 tracks, road-beds, tunnel, underpass or
                   to be.                                                             crossing;

                8. "Impaired property" means tangible property,                   (2) That indemnifies an architect, engineer or
                   other than "your product" or "your work", that                     surveyor for injury or damage arising out
                   cannot be used or is fess useful because:                          of:

                   a. It incorporates "your product" or "your work"                   (a) Preparing, approving, or failing to
                        that is known or thought to be defective, defi-                   prepare or approve, maps, shop
                        cient, inadequate or dangerous; or                                drawings, opinions, reports, surveys,
                                                                                          field orders, change orders or draw-
                   b. You have failed to fulfill the terms of a con-                      ings and specifications; or
                      tract or agreement;
                                                                                      (b) Giving directions or instructions, or
                   if such property can be restored to use by:                            failing to give them, if that is the pri-
                   a. The repair, replacement, adjustment or re-                          mary cause of the injury or damage;
                        moval of "your product" or "your work"; or                        or
                   b. Your fulfilling the terms of the contract or                (3) Under which the insured, if an architec~
                      agreement                                                       engineer or surveyor, assumes liability for
                9. "Insured contract" means:                                          an injury or damage arising out of the in-
                                                                                      sured's rendering or failure to render pro-
                   a. A contract for a lease of premises. However,                    fessional services, including those listed
                        that portion of the contract for a lease of                   in (2) above and supervisory, inspection,
                        premises that indemnifies any person or or-                   architectural or engineering activities.
                        ganization for damage by fire to premises
                        while rented to you or temporarily occupied       10. "Leased worker'' means a person leased to you
                        by you with permission of the owner is not an         by a labor leasing firm under an agreement be-
                        "insured contract";                                   tween you and the labor leasing firm, to perform
                                                                              duties related to the conduct of your business.
                   b. A sidetrack agreement;                                  "Leased worker'' does not include a "temporary
                   c. Any easement or license agreement, except               worker''.
                        in connection with construction or demolition     11. "Loading or unloading" means the handling of
                        operations on or within 50 feet of a railroad;        property:
                   d. An obligation, as required by ordinance, to in-         a. After it is moved from the place where it is
                        demnify a municipality, except in connection              accepted for movement into or onto an air-
                        with work for a municipality;                             craft, watercraft or "auto";
                   e. An elevator maintenance agreement;                      b. While it is in or on an aircraft, watercraft or
                   f.   That part of any other contract or agreement              "auto"; or
                        pertaining to your business (including an in-         c. While it is being moved from an aircraft, wa-
                        demnification of a municipality in connection            tercraft or "auto" to the place where it is finally
                        with work performed for a municipality) under            delivered;
                        which you assume the tort liability of another
                        party to pay for "bodily injury" or "property         but "loading or unloading" does not include the
                                                                              movement of property by means of a mechanical


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   COMMERCIAL GENERAL LIABILITY


      device, other than a hand truck, that is not at-       13. "Occurrence" means an accident, including
      tached to the aircraft, watercraft or "auto".              continuous or repeated exposure to substantially
   12. "Mobile equipment'' means any of the following            the same general harmful conditions.
       types of land vehicles, including any attached        14. "Personal and advertising injury" means injury,
       machinery or equipment:                                   including consequential "bodily injury", arising out
      a. Bulldozers, farm machinery, forklifts and other         of one or more of the following offenses:
         vehicles designed for use principally off public        a.   False arrest, detention or imprisonment;
         roads;                                                  b. Malicious prosecution;
      b. Vehicles maintained for use solely on or next           c. The wrongful eviction from, wrongful entry
         to premises you own or rent;                               into, or invasion of the right of private occu-
      c. Vehicles that travel on crawler treads;                    pancy of a room, dwelling or premises that a
      d. Vehicles, whether self-propelled or not, main-             person occupies, committed by or on behalf
         tained primarily to provide mobility to perma-             of its owner, landlord or lessor;
         nently mounted:                                         d. Oral or written publication, in any manner, of
           (1) Power cranes, shovels, loaders, diggers              material that slanders or libels a person or or-
               or drills; or                                        ganization or disparages a person's or or-
                                                                    ganization's goods, products or services;
           (2) Road construction or resurfacing equip-
               ment such as graders, scrapers or rollers;        e.   Oral or written publication, in any manner, of
                                                                      material that violates a person's right of pri-
      e. Vehicles not described in a., b., c. or d.                   vacy;
         above that are not self-propelled and are
         maintained primarily to provide mobility to             f.   The use of another's advertising idea in your
         permanently attached equipment of the fol-                   "advertisement"; or
         lowing types:                                           g. Infringing upon another's copyright, trade
           (1) Air compressors, pumps and generators,               dress or slogan in your "advertisement".
               including spraying, welding, building          15. "Pollutants" mean any solid, liquid, gaseous or
               cleaning, geophysical exploration, lighting        thermal irritant or contaminant, including smoke,
               and well servicing equipment; or                   vapor, soot, fumes, acids, alkalis, chemicals and
           (2) Cherry pickers and similar devices used            waste. Waste includes materials to be recycled,
               to raise or lower workers;                         reconditioned or reclaimed.

      f.   Vehicles not described in a., b., c. or d.        16. "Products-completed operations hazard":
           above maintained primarily for purposes other         a. Includes all "bodily injury" and "property dam-
           than the transportation of persons or cargo.             age" occurring away from premises you own
            However, self-propelled vehicles with the fol-          or rent and arising out of "your product" or
           lowing types of permanently attached equip-              "your work" except:
           ment are not "mobile equipment" but will be                (1) Products that are still in your physical
           considered "autos":                                            possession; or
           (1) Equipment designed primarily for:                      (2) Work that has not yet been completed or
               (a) Snow removal;                                          abandoned. However, "your work" will be
                                                                          deemed completed at the earliest of the
               (b) Road maintenance, but not construc-                    following times:
                   tion or resurfacing; or
                                                                          (a) When all of the work called for in your
               (c) Street cleaning;                                           contract has been completed.
           (2) Cherry pickers and similar devices                         (b) When all of the work to be done at
               mounted on automobile or truck chassis                         the job site has been completed if
               and used to raise or lower workers; and                        your contract calls for work at more
           (3) Air compressors, pumps and generators,                         than one job site.
               including spraying, welding, building                      (c) When that part of the work done at a
               cleaning, geophysical exploration, lighting                    job site has been put to its intended
               and well servicing equipment.


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                                                                               COMMERCIAL GENERAL LIABILITY


                  use by any person or organization                    must submit or does submit with our consent;
                  other than another contractor or sub-                or
                  contractor working on the same pro-              b. Any other alternative dispute resolution pro-
                  ject.                                                ceeding in which such damages are claimed
              Work that may need service, mainte-                      and to which the insured submits with our
              nance, correction, repair or replacement,                consent.
              but which is otherwise complete, will be         19. "Temporary worker" means a person who is
              treated as completed.                               furnished to you to substitute for a permanent
      b. Does not include "bodily injury" or "property            "employee" on leave or to meet seasonal or short-
          damage" arising out of:                                 term workload conditions.
          (1) The transportation of property, unless the       20. 'Volunteer worker" means a person who is not
              injury or damage arises out of a condition          your "employee", and who donates his or her
              in or on a vehicle not owned or operated            work and acts at the direction of and within the
              by you, and that condition was created by           scope of duties determined by you, and is not
              the "loading or unloading" of that vehicle          paid a fee, salary or other compensation by you
              by any insured;                                     or anyone else for their work performed for you.
          (2) The existence of tools, uninstalled              21. "Your product":
              equipment or abandoned or unused ma-                 a. Means:
              terials; or
                                                                       (1) Any goods or products, other than real
          (3) Products or operations for which the clas-                   property, manufactured, sold, handled,
              sification, listed in the Declarations or in a               distributed or disposed of by:
              policy schedule, states that products-
              completed operations are subject to the                      (a) You;
              General Aggregate Limit.                                     (b) Others trading under your name; or
  17. "Property damage" means:                                             (c) A person or organization whose busi-
      a. Physical injury to tangible property, including                       ness or assets you have acquired;
          all resulting loss of use of that property. All                      and
          such loss of use shall be deemed to occur at                 (2) Containers (other than vehicles), materi-
          the time of the physical injury that caused it;                  als, parts or equipment furnished in con-
          or                                                               nection with such goods or products.
      b. Loss of use of tangible property that is not              b. Includes:
          physically injured. All such loss of use shall              (1) Warranties or representations made at
          be deemed to occur at the time of the "occur-                    any time with respect to the fitness, qual-
          rence" that caused it.                                           ity, durability, performance or use of "your
      For the purposes of this insurance, electronic                       product"; and
      data is not tangible property.                                   (2) The providing of or failure to provide
      As used in this definition, electronic data means                    warnings or instructions.
      information, facts or programs stored as or on,
                                                                   c. Does not include vending machines or other
      created or used on, or transmitted to or from
                                                                      property rented to or located for the use of
      computer software, including systems and appli-
                                                                      others but not sold.
      cations software, hard or floppy disks, CD-ROMS,
      tapes, drives, cells, data processing devices or         22. "Yourwork":
      any other media which are used with electroni-               a. Means:
      cally controlled equipment.
                                                                       (1) Work or operations performed by you or
  18. "Suit" means a civil proceeding in which damages                     on your behalf; and
      because of "bodily injury", "property damage" or
      "personal and advertising injury" to which this in-              (2) Materials, parts or equipment furnished in
      surance applies are alleged. "Suit" includes:                        connection with such work or operations.
      a. An arbitration proceeding in which such dam-
          ages are claimed and to which the insured



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  COMMERCIAL GENERAL LIABILITY


     b. Includes:
                                                                       ity, durability, performance or use of "your
                                                                       work", and
        (1) Warranties or representations made at
             any time with respect to the fitness, qual-           (2) The providing of or failure to provide
                                                                       warnings or instructions.




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                                                                            COMMERCIAL GENERAL LIABILITY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
  This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          LIQUOR LIABILITY COVERAGE PART
          OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
          POLLUTION LIABILITY COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
          RAILROAD PROTECTIVE LIABILITY COVERAGE PART


                                                                                                                                                                        ~1
          UNDERGROUND STORAGE TANK POLICY

  If aggregate insured losses attributable to terrorist      ant to the federal Terrorism Risk Insurance Act. The
  acts certified under the federal Terrorism Risk Insur-     criteria contained in the Terrorism Risk Insurance Act                                                     H
  ance Act exceed $100 billion in a Program Year             for a "certified act of terrorism" include the following:                                                  f-l
  (January 1 through December 31) and we have met                                                                                                                       H
                                                             1. The act resulted in insured losses in excess of $5                                                       il
  our insurer deductible under the Terrorism Risk Insur-                                                                                                                ,1
  ance Act, we shall not be liable for the payment of any
                                                                million in the aggregate, attributable to all types of                                                  n
                                                                insurance subject to the Terrorism Risk Insurance                                                       M
  portion of the amount of such losses that exceeds
                                                                Act; and                                                                                                'I
  $100 billion, and in such case insured losses up to
  that amount are subject to pro rata allocation in ac-      2. The act is a violent actor an act that is dangerous
                                                                                                                                                                        fl~i
  cordance with procedures established by the Secre-            to human life, property or infrastructure and is                                                        n
                                                                                                                                                                        _j
  tary of the Treasury.                                         committed by an individual or individuals as part
                                                                of an effort to coerce the civilian population of the
  "Certified act of terrorism" means an act that is certi-
                                                                United States or to influence the policy or affect
  fied by the Secretary of the Treasury, in concurrence
                                                                the conduct of the United States Government by
  with the Secretary of State and the Attorney General
                                                                coercion.
  of the United States, to be an act of terrorism pursu-




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                                                                                         COMMERCIAL GENERAL LIABILITY



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            AMENDMENT OF COVERAGE - POLLUTION
               This endorsement modifies insurance provided under the following:
                      COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                      move, contain, treat, detoxify or neutral-
               PROVISIONS
                                                                                      ize, or in any way respond to, or assess
               Paragraph f.(2) Pollution, Part 2. Exclusions of                       the effects of, "pollutants"; or
               SECTION I - COVERAGES, COVERAGE A BODILY
                                                                                   (b) Claim or "suit" by or on behalf of a gov-
               INJURY AND PROPERTY DAMAGE LIABILITY is
                                                                                       ernmental authority because of testing
               deleted and replaced by the following:
                                                                                       for, monitoring, cleaning up, removing,
                   (2) Any loss, cost or expense arising out of any:                   containing, treating, detoxifying or neu-
                       (a) Request, demand, order or statutory or                      tralizing, or in any way responding to, or
                           regulatory requirement that any insured                     assessing the effects of "pollutants".
                           or others test for, monitor, clean up, re-




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                            ---,_-_-,._:_




                                                                                                                         COMMERCIAL GENERAL LIABILITY


                                                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                        AMENDATORY ENDORSEMENT - PRODUCTS-
                                                           COMPLETED OPERATIONS HAZARD
                                            This endorsement modifies insurance provided under the following:
                                                    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                            PROVISIONS
                                            The definition of "products-completed operations hazard" Section V - Definitions is amended by deleting item
                                            16.b. (3) and replacing it with:
                                                (3) Products or operations for which the classification, listed in the Declarations, in a policy schedule or in our
                                                     manual of rules, states that the products-completed operations are subject to the General Aggregate
                                                     Limit.




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                                                                                                        COMMERCIAL GENERAL LIABILITY



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               AMENDMENT OF COVERAGE B -
         PERSONAL AND ADVERTISING INJURY LIABILITY
  This endorsement modifies insurance provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART

  PROVISIONS                                                                                2. The following replaces the third sentence of
  A. AMENDMENT OF DEFINITION OF PERSONAL                                                       Paragraph 2. of SUPPLEMENTARY PAY-
     AND ADVERTISING INJURY                                                                    MENTS - COVERAGES A AND B:
     The following replaces the definition of "personal                                        Notwithstanding the provisions of Paragraph
     and advertising injury" in the DEFINITIONS Sec-                                           2.b.(2) of Section I - Coverage A - Bodily In-
     tion:                                                                                     jury And Property Damage Liability or Para-
                                                                                               graph 2.e. of Section I - Coverage B - Per-
     "Personal and advertising injury" means "personal                                         sonal and Advertising Injury Liability, such
     injury" or "advertising injury".                                                          payments will not be deemed to be damages
   B. AMENDMENT OF CONTRACTUAL LIABILITY                                                       because of "bodily injury", "property damage"
      EXCLUSION - EXCEPTION FOR DAMAGES                                                        or "personal injury", and will not reduce the
      BECAUSE OF PERSONAL INJURY ASSUMED                                                       limits of insurance.
      BY NAMED INSURED IN AN INSURED CON-                                                   3. The following replaces the first paragraph of
      TRACT                                                                                    Paragraph f. of the definition of "insured con-
      1. The following is added to Exclusion e., Con-                                          tract" in the DEFINITIONS Section:
         tractual Liability, in Paragraph 2. of SEC-                                           f.    That part of any other contract or agree-
         TION I - COVERAGES - COVERAGE B                                                             ment pertaining to your business (includ-
         PERSONAL AND ADVERTISING INJURY                                                             ing an indemnification of a municipality in
         LIABILITY:                                                                                  connection with work performed for a
         This exclusion also does not apply to liability                                             municipality) under which you assume the
         for damages because of "personal injury" as-                                                tort liability of another party to pay for
         sumed by you in a contract or agreement that                                                "bodily injury", "property damage" or "per-
         is an "insured contract", provided that the                                                 sonal injury" to a third party or organiza-
         "personal injury" is caused by an offense                                                   tion. Tort liability means a liability that
         committed subsequent to the execution of the                                                would be imposed by law in the absence
         contract or agreement. Solely for the pur-                                                  of any contract or agreement.
         poses of liability assumed by you in an "in-                                 C. AMENDMENT OF OTHER EXCLUSIONS
         sured contract", reasonable attorney fees and
         necessary litigation expenses incurred by or                                       1. The following replaces Exclusion b., Material
         for a party other than an insured will be                                             Published With Knowledge Of Falsity, in
         deemed to be damages because of "personal                                             Paragraph 2. of SECTION I - COVERAGES
         injury", provided that:                                                               - COVERAGE B PERSONAL AND ADVER-
                                                                                               TISING INJURY LIABILITY:
          (1) Liability to such party for, or for the cost
              of, that party's defense has also been as-                                        b.   Material Published With Knowledge Of
              sumed by you in the same "insured con-                                                 Falsity
              tract"; and                                                                            "Personal injury" or "advertising injury"
          (2) Such attorney fees and litigation ex-                                                  arising out of oral or written publication,
              penses are for defense of that party                                                   including publication by electronic means.
              against a civil or alternative dispute reso-                                           of material, if done by or at the direction
              lution proceeding in which damages to                                                  of the insured with knowledge of its fal-
              which this insurance applies are alleged.                                              sity.
                                                                                            2. The following replaces Exclusion c., Material
                                                                                               Published Prior To Policy Period, in Para-
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  COMMERCIAL GENERAL LIABILITY


          graph 2. of SECTION I - COVERAGES -                                      PERSONAL AND ADVERTISING INJURY
          COVERAGE B PERSONAL AND ADVER·                                           LIABILITY:
          TISING INJURY LIABILITY:                                                   i.    Intellectual Property
          c.    Material Published Or Used Prior To                                        "Personal injury" or "advertising injury"
                Policy Period                                                              arising out of any actual or alleged in-
                                                                                           fringement or violation of any of the fol-
                (1) "Personal injury" or "advertising in-                                  lowing rights or laws, or any other "per-
                    jury" arising out of oral or written pub-                              sonal injury" or "advertising injury" alleged
                    lication, including publication by elec-
                                                                                           in any claim or "suit" that also alleges any
                    tronic means, of material whose first
                                                                                           such infringement or violation:
                     publication took place before the be-
                     ginning of the policy period; or                                      (1) Copyright;
                (2) "Advertising injury" arising out of in-                                (2) Patent;
                    fringement of copyright. "title" or "slo-                              (3) Trade dress;
                    gan" in your "advertisement" whose
                    first infringement in your "advertise-                                 (4) Trade name;
                    ment" was committed before the be-                                     (5) Trademark;
                    ginning of the policy period.
                                                                                           (6) Trade secret; or
     3.   The following replaces Exclusion f., Breach
                                                                                           (7) other intellectual property rights or
          Of Contract, in Paragraph 2. of SECTION I -
                                                                                                laws.
          COVERAGES - COVERAGE B PERSONAL
          AND ADVERTISING INJURY LIABILITY:                                                This exclusion does not apply to:
          f.    Breach Of Contract                                                         (1) "Advertising injury" arising out of any
                                                                                                actual or alleged infringement or vio-
                "Advertising injury" arising out of a breach                                    lation of another's copyright, "title" or
                of contract.                                                                    "slogan" in your "advertisement"; or
     4. The following replaces Exclusion g., Quality                                       (2) Any other "personal injury" or "adver-
        Or Performance of Goods - Failure To                                                    tising injury" alleged in any claim or
        Conform To Statements, in Paragraph 2. of                                               "suit" that also alleges any such in-
        SECTION I - COVERAGES - COVERAGE B                                                      fringement or violation of another's
        PERSONAL AND ADVERTISING INJURY                                                         copyright, "title" or "slogan" in your
        LIABILITY:                                                                              "advertisement".
           g.    Quality Or Performance Of Goods -                               7. The following replaces Exclusion j., Insureds
                 Failure To Conform To Statements                                   In Media And Internet Type Businesses, in
                 "Advertising injury" arising out of the fail-                      Paragraph 2. of SECTION I - COVERAGES
                 ure of goods, products or services to con-                         - COVERAGE B PERSONAL AND ADVER·
                 form with any statement of quality or per-                         TISING INJURY LIABILITY:
                 formance made in your "advertisement".                               j.    Insureds In Media And Internet Type
      5. The following replaces Exclusion h., Wrong                                         Businesses
           Description Of Prices, in Paragraph 2. of                                        "Personal injury" or "advertising injury"
           SECTION I - COVERAGES - COVERAGE B                                               arising out of an offense committed by an
           PERSONAL AND ADVERTISING INJURY                                                  insured whose business is:
           LIABILITY:                                                                       (1) Advertising, "broadcasting" or pub-
           h. Wrong Description Of Prices                                                        lishing;
                 "Advertising injury" arising out of the                                    (2) Designing or determining content of
                 wrong description of the price of goods,                                        web-sites for others; or
                 products or services stated in your "ad-
                                                                                            (3) An Internet search, access, content
                 vertisement".                                                                   or service provider.
      6. The following replaces Exclusion i., In·                                           This exclusion does not apply to Para-
         fringement Of Copyright, Patent, Trade-                                            graphs a.(1), (2) and (3) of the definition
         mark, Or Trade Secret, in Paragraph 2. of                                          of "personal injury".
         SECTION I - COVERAGES - COVERAGE B                                                 For the purposes of this exclusion:

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                                                                                            COMMERCIAL GENERAL UABIUTY


             (1) Creating and producing correspon-                                     person or organization that claims to have
                 dence written in the conduct of your                                  been slandered or libeled, or that claims
                 business, bulletins, financial or an-                                 to have had its goods, products or ser-
                 nual reports, or newsletters about                                    vices disparaged;
                 your goods, products or services will                            (2) Oral or written publication, including pub-
                 not be considered the business of                                     lication by electronic means, of material in
                 publishing; and                                                       your "advertisement" that:
             (2) The placing of frames, borders or                                      (a) Appropriates a person's name, voice,
                 links, or advertising, for you or others                                    photograph or likeness;
                 anywhere on the Internet will not, by
                 itself, be considered the business of                                  (b) Unreasonably places a person in a
                 advertising, "broadcasting" or publish-                                     false light; or
                 ing.                                                                   (c) Discloses information about a per-
     8. The following replaces Paragraph (2) of Ex-                                          son's private life; or
        clusion n., Pollution-Related, in Paragraph                                (3) Infringement of copyright, "title" or "slo-
         2. of SECTION I - COVERAGES - COVER-                                           gan" in your "advertisement", provided
         AGE B PERSONAL AND ADVERTISING                                                 that the claim is made or the "suit" is
         INJURY LIABILITY:                                                              brought by a person or organization that
                                                                                        claims ownership of such copyright, "title"
         (2) Claim or suit by or on behalf of a govern-
             mental authority because of testing for,                                   or "slogan".
             monitoring, cleaning up, removing, con-                          b. Includes "bodily injury" caused by one or
             taining, treating, detoxifying or neutraliz-                         more of the offenses described in Paragraph
             ing, or in any way responding to, or as-                             a. above.
             sessing the effects of, "pollutants".
                                                                              "Broadcasting" means transmitting any audio or
  D. AMENDMENT OF WHO IS AN INSURED                                           visual material for any purpose:
     The following replaces the introductory phrase of                        a. By radio or television; or
     Paragraph 2.a.(1) of SECTION II - WHO IS AN                              b. In, by or with any other electronic means of
     INSURED:                                                                    communication, such as the Internet, if that
     (1) "Bodily injury" or "personal injury":                                   material is part of:
  E. AMENDMENT OF LIMITS OF INSURANCE                                              (1) Radio or television programming being
                                                                                        transmitted;
     The following replaces Paragraph 4. of SECTION
     111- LIMITS OF INSURANCE:                                                     (2) Other entertainment, educational, instruc-
     Subject to 2. above, the Personal and Advertising                                  tional, music or news programming being
     Injury Limit is the most we will pay under Cover-                                  transmitted; or
     age B for the sum of all damages because of all                               (3) Advertising transmitted with any of such
     "personal injury" and "advertising injury" sus-                                    programming.
     tained by any one person or organization.                                "Personal injury":
  F. ADDITIONAL DEFINITIONS                                                   a. Means injury, other than "advertising injury",
      The following is added to the DEFINITIONS Sec-                             caused by one or more of the following of-
      tion:                                                                      fenses:
      "Advertising injury":                                                        (1) False arrest, detention or imprisonment:
      a. Means injury, other than "personal injury",                               (2) Malicious prosecution;
         caused by one or more of the following of-
                                                                                   (3) The wrongful eviction from, wrongful entry
         fenses:                                                                         into, or invasion of the right of private oc-
          (1) Oral or written publication, including pub-                                cupancy of a room, dwelling or premises
              lication by electronic means, of material in                               that a person occupies, provided that the
              your "advertisement" that slanders or li-                                  wrongful eviction, wrongful entry or inva-
              bels a person or organization or dispar-                                   sion of the right of private occupancy is
              ages a person's or organization's goods,                                   committed by or on behalf of the owner,
              products or services, provided that the                                    landlord or lessor of that room, dwelling
              claim is made or the "suit" is brought by a                                or premises;

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  COMMERCIAL GENERAL LIABILITY


        (4) Oral or written publication, including pub-                               (c) Discloses information about a per-
            lication by electronic means. of material                                     son's private life.
            that slanders or libels a person or organi-                    b. Includes "bodily injury" caused by one or
            zation or disparages a person's or or-                              more of the offenses described in Paragraph
            ganization's goods, products or services,                           a. above.
            provided that the claim is made or the
            "suit" is brought by a person or organiza-                     "Slogan":
            tion that claims to have been slandered or                     a. Means a phrase that others use for the pur-
            libeled, or that claims to have had its                              pose of attracting attention in their advertis-
             goods, products or services disparaged;                             ing.
             or
                                                                           b.    Does not include a phrase used as, or in, the
         (5) Oral or written publication, including pub-                         name of:
             lication by electronic means, of material
                                                                                 (1) Any person or organization, other than
             that:
                                                                                     you; or
             (a) Appropriates a person's name, voice,
                 photograph or likeness;                                         (2) Any business, or any of the premises,
                                                                                     goods, products, services or work. of any
             (b) Unreasonably places a person in a                                   person or organization, other than you.
                 false light; or                                            "Title" means a name of a literary or artistic work.




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                                                                             COMMERCIAL GENERAL LIABILITY


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             OTHER INSURANCE - ADDITIONAL INSUREDS
  This endorsement modifies insurance provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART
  PROVISIONS                                                    b. The "personal injury" or "advertising injury" for
  COMMERCIAL GENERAL LIABILITY CONDITIONS                          which coverage is sought arises out of an of-
  (Section IV), Paragraph 4. (Other Insurance), is                 fense committed
  amended as follows:                                          subsequent to the signing and execution of that
  1. The following is added to Paragraph a. Primary            contract or agreement by you.
     Insurance:                                             2. The first Subparagraph (2) of Paragraph b. Ex-
     However, if you specifically agree in a written con-      cess Insurance regarding any other primary in-
     tract or written agreement that the insurance pro-        surance available to you is deleted.
     vided to an additional insured under this              3. The following is added to Paragraph b. Excess
     Coverage Part must apply on a primary basis, or            Insurance, as an additional subparagraph under
     a primary and non-contributory basis, this insur-          Subparagraph (1):
     ance is primary to other insurance that is avail-         That is available to the insured when the insured
     able to such additional insured which covers such         is added as an additional insured under any other
     additional insured as a named insured, and we             policy, including any umbrella or excess policy.
     will not share with that other insurance, provided
     that:
     a. The "bodily injury" or "property damage" for
          which coverage is sought occurs; and




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                                                                           COMMERCIAL GENERAL LIABILITY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     XTEND ENDORSEMENT
  This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
  GENERAL DESCRIPTION OF COVERAGE - This endorsement broadens coverage. The following listing is a
  general coverage description only. Limitations and exclusions may apply to these coverages. Read all the PRO-
  VISIONS of this endorsement carefully to determine rights, duties, and what is and is not covered.

  A. Broadened Named Insured                                I.   Injury to Co-Employees and Co-Volunteer
  B. Damage To Premises Rented To You Extension                  Workers
     • Perils of fire, explosion, lightning, smoke, water   J.   Aircraft Chartered with Crew
     • Limit increased to $300,000                          K. Non-Owned Watercraft- Increased
                                                                 from 25 feet to 50 feet
  c. Blanket Waiver of Subrogation
                                                            L.   Increased Supplementary Payments
  D. Blanket Additional Insured- Managers or
     Lessors of Premises                                         • Cost for bail bonds increased to $2,500
  E. Blanket Additional Insured - Lessor of                      • Loss of earnings increased to $500 per day
     leased Equipment                                       M.   Knowledge and Notice of Occurrence
  F. Incidental Medical Malpractice                              or Offense
  G. Personal Injury -Assumed by Contract                   N.   Unintentional Omission
  H. Extension of Coverage - Bodily Injury                  0. Reasonable Force - Bodily Injury or
                                                               Property Damage
  PROVISIONS                                                B. DAMAGE TO PREMISES RENTED TO YOU
  A. BROADENED NAMED INSURED                                   EXTENSION
     1. The Named Insured in Item 1. of the Declara-           1. The last pa-ragraph of COVERAGE A. BOD-
        tions is as follows:                                      ILY INJURY AND PROPERTY DAMAGE LI-
        The person or organization named in Item 1.               ABILITY (Section I - Coverages) is deleted
        of the Declarations and any organization,                 and replaced by the following:
        other than a partnership or joint venture, over           Exclusions c. through n. do not apply to dam-
        which you maintain ownership or majority in-              age to premises while rented to you, or tem-
        terest on the effective date of the policy.               porarily occupied by you with permission of
        However, coverage for any such organization               the owner, caused by:
        will cease as of the date during the policy pe-
                                                                  a. Fire;
        riod that you no longer maintain ownership of,
        or majority interest in, such organization.               b. Explosion;
     2. WHO IS AN INSURED (Section II) Item 4.a.                  c. Lightning;
        is deleted and replaced by the following:                 d. Smoke resulting from such fire, explosion,
        a. Coverage under this provision is afforded                  or lightning; or
             only until the 1Both day after you acquire           e. Water.
             or form the organization or the end of the
             policy period, whichever is earlier, unless          A separate limit of insurance applies to this
             reported in writing to us within 180 days.           coverage as described in LIMITS OF INSUR-
                                                                  ANCE (Section Ill).
     3. This Provision A. does not apply to any per-
        son or organization for which coverage is ex-          2. This insurance does not apply to damage to
        cluded by endorsement.                                    premises while rented to you, or temporarily



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  COMMERCIAL GENERAL LIABILITY


          occupied by you with permission of the                    COVERAGE A. BODILY INJURY AND
                                                                                                                        \i
          owner, caused by:                                         PROPERTY DAMAGE LIABILITY (Section!-
          a.    Rupture, bursting, or operation of pres-            Coverages) is excluded by endorsement.
                sure relief devices;                          C. BLANKET WAIVER OFSUBROGATION
          b. Rupture or bursting due to expansion or            We waive any right of recovery we may have
                swelling of the contents of any building or     against any person or organization because of
                structure, caused by or resulting from wa-      payments we make for injury or damage arising
                ter;                                            out of premises owned or occupied by or rented
          c.    Explosion of steam boilers, steam pipes,        or loaned to you; ongoing operations performed
                steam engines, or steam turbines.               by you or on your behalf, done under a contract
                                                                with that person or organization; "your work"; or
     3. Part 6. of LIMITS OF INSURANCE (Section                 "your products". We waive this right where you
        Ill) is deleted and replaced by the following:          have agreed to do so as part of a written contract,
          Subject to 5. above, the Damage To Prem-              executed by you prior to loss.
          ises Rented To You Limit is the most we will        D. BLANKET ADDITIONAL INSURED - MANAG-
          pay under COVERAGE A. for damages be-                  ERS OR LESSORS OF PREMISES
          cause of "property damage" to any one prem-
          ises while rented to you, or temporarily occu-        WHO IS AN INSURED (Section II) is amended to
          pied by you with permission of the owner,             include as an insured any person or organization
          caused by fire, explosion, lightning, smoke           (referred to below as "additional insured") with
          resulting from such fire, explosion, or light-        whom you have agreed in a written contract, exe-
          ning, or water. The Damage To Premises                cuted prior to loss, to name as an additional in-
          Rented To You Limit will apply to all damage          sured, but only with respect to liability arising out
          proximately caused by the same "occur-                of the ownership, maintenance or use of that part
          rence", whether such damage results from              of any premises leased to you, subject to the fol-
          fire, explosion, lightning, smoke resulting from      lowing provisions:
          such fire, explosion, or lightning, or water, or      1. Limits of Insurance. The limits of insurance
          any combination of any of these.                          afforded to the additional insured shall be the
          The Damage To Premises Rented To You                      limits which you agreed to provide, or the lim-
          Limit will be the higher of:                              its shown on the Declarations, whichever is
                                                                    less.
          a. $300,000; or
                                                                2. The insurance afforded to the additional in-
          b. The amount shown on the Declarations                  sured does not apply to:
                for Damage To Premises Rented To You
                Limit.                                              a. Any "occurrence" that takes place after
                                                                        you cease to be a tenant in that premises;
     4.   Under DEFINITIONS (Section V), Paragraph
          a. of the definition of "insured contract" is             b. Any premises for which coverage is ex-
          amended so that it does not include that por-                 cluded by endorsement; or
          tion of the contract for a lease of premises              c. Structural alterations, new construction or
          that indemnifies any person or organization                  demolition operations performed by or on
          for damage to premises while rented to you,                  behalf of such additional insured.
          or temporarily occupied by you with permis-           3. The insurance afforded to the additional in-
          sion of the owner, caused by:                            sured is excess over any valid and collectible
          a. Fire;                                                 insurance available to such additional in-
          b. Explosion;                                            sured, unless you have agreed in a written
                                                                   contract for this insurance to apply on a pri-
          c. Lightning;                                            mary or contributory basis.
          d. Smoke resulting from such fire, explosion,       E. BLANKET ADDITIONAL INSURED - LESSOR
                or lightning; or                                 OF LEASED EQUIPMENT
          e. Water.                                             WHO IS AN INSURED (Section II) is amended to
     5. This Provision B. does not apply if coverage            include as an insured any person or organization
          for Damage To Premises Rented To You of               (referred to below as "additional insured") with


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                                                                              COMMERCIAL GENERAL LIABILITY


     whom you have agreed in a written contract, exe-                     for which no remuneration is demanded
     cuted prior to loss, to name as an additional in-                    or received.
     sured, but only with respect to their liability arising     3.   Paragraph 2.a.(1)(d) of WHO IS AN IN-
     out of the maintenance, operation or use by you                  SURED (Section II) does not apply to any
     of equipment leased to you by such additional in-                registered nurse, licensed practical nurse,
     sured, subject to the following provisions:                      emergency medical technician or paramedic
     1. Limits of Insurance. The limits of insurance                  employed by you, but only while performing
         afforded to the additional insured shall be the              the services described in paragraph 2. above
         limits which you agreed to provide, or the lim-              and while acting within the scope of their em-
         its shown on the Declarations, whichever is                  ployment by you. Any "employees" rendering
         less.                                                        "Good Samaritan services" will be deemed to
     2. The insurance afforded to the additional in-                  be acting within the scope of their employ-
         sured does not apply to:                                     ment by you.
                                                                 4. The following exclusion is added to paragraph
         a. Any "occurrence" that takes place after
                                                                    2. Exclusions of COVERAGE A. - BODILY
            the equipment lease expires; or
                                                                      INJURY AND PROPERTY DAMAGE LIABIL-
         b. "Bodily injury" or "property damage" aris-                ITY (Section I - Coverages):
              ing out of the sole negligence of such ad-
                                                                      (This insurance does not apply to:) Liability
              ditional insured.
                                                                      arising out of the willful violation of a penal
     3. The insurance afforded to the additional in-                  statute or ordinance relating to the sale of
         sured is excess over any valid and collectible               pharmaceuticals by or with the knowledge or
         insurance available to such additional in-                   consent of the insured.
         sured, unless you have agreed in a written
                                                                 5. For the purposes of determining the applica-
         contract for this insurance to apply on a pri-
                                                                      ble limits of insurance, any act or omission,
         mary or contributory basis.
                                                                      together with all related acts or omissions in
  F. INCIDENTAL MEDICAL MALPRACTICE                                   the furnishing of the services described in
     1. The definition of "bodily injury" in DEFINI-                  paragraph 2. above to any one person, will be
         TIONS (Section V) is amended to include "In-                 considered one "occurrence".
         cidental Medical Malpractice Injury".                   6. This Provision F. does not apply if you are in
     2. The following definition is added to DEFINI-                  the business or occupation of providing any of
         TIONS (Section V):                                           the services described in paragraph 2. above.
         "Incidental medical malpractice injury" means           7. The insurance provided by this Provision F.
         bodily injury, mental anguish, sickness or dis-            shall be excess over any other valid and col-
         ease sustained by a person, including death                lectible insurance available to the insured,
         resulting from any of these at any time, aris-             whether primary, excess, contingent or on
         ing out of the rendering of, or failure to ren-            any other basis, except for insurance pur-
         der, the following services:                   I           chased specifically by you to be excess of
                                                                    this policy.
         a. Medical, surgical, dental, laboratory, x-ray
              or nursing service or treatment, advice or       G. PERSONAL INJURY - ASSUMED BY CON-
              instruction, or the related furnishing of           TRACT
              food or beverages;                                 1. The Contractual Liability Exclusion in Part
         b. The furnishing or dispensing of drugs or                2., Exclusions of COVERAGE B. PER-
            medical, dental, or surgical supplies or                SONAL AND ADVERTISING INJURY LIABIL-
            appliances; or                                          ITY (Section I - Coverages) is deleted and
                                                                    replaced by the following:
         c.   First aid.
                                                                      (This insurance does not apply to:)
         d. "Good Samaritan services". As used in
                                                                      Contractual Liability
            this Provision F., "Good Samaritan ser-
            vices" are those medical services ren-                    "Advertising injury" for which the insured has
            dered or provided in an emergency and                     assumed liability in a contract or agreement.
                                                                      This exclusion does not apply to liability for



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  COMMERCIAL GENERAL LIABILITY


          damages that the insured would have in the             3. Subparagraphs 2.a.(1)(a), (b) and (c) and
          absence of the contract of agreement.                     3.a. of WHO IS AN INSURED (Section IQ do
                                                                    not apply to "bodily injury" for which insurance
     2.   Subparagraph f. of the definition of "insured             is provided by paragraph 1. or 2. above.
          contract" (DEFINITIONS - Section V) is de-
          leted and replaced by the following:                J. AIRCRAFT CHARTERED WITH CREW
          f.   That part of any other contract or agree-         1. The following is added to the exceptions con-
               ment pertaining to your business (includ-            tained in the Aircraft, Auto Or Watercraft
               ing an indemnification of a municipality in          Exclusion in Part 2., Exclusions of COVER-
               connection with work performed for a                 AGE A. BODILY INJURY AND PROPERTY
               municipality) under which you assume the             DAMAGE LIABILITY (Section I - Coverages):
               tort liability of another party to pay for            (This exclusion does not apply to:) Aircraft
               "bodily injury," "property damage" or "per-           chartered with crew to any insured.
               sonal injury" to a third party or organiza-
                                                                  2. This Provision J. does not apply if the char-
               tion. Tort liability means a liability that
                                                                     tered aircraft is owned by any insured.
               would be imposed by law in the absence
                of any contract or agreement.                     3. The insurance provided by this Provision J.
                                                                     shall be excess over any other valid and col-
     3. This Provision G. does not apply if COVER-                   lectible insurance available to the insured,
         AGE B. PERSONAL AND ADVERTISING IN-                         whether primary, excess, contingent or on
          JURY LIABILITY is excluded by endorse-                     any other basis, except for insurance pur-
          ment.                                                      chased specifically by you to be excess of        r~
  H. EXTENSION OF COVERAGE - BODILY IN-                              this policy.                                      ;-.;
     JURY                                                     K. NON-OWNED WATERCRAFT
     The definition of "bodily injury" (DEFINITIONS -
                                                                 1. The exception contained in Subparagraph (2)
     Section V) is deleted and replaced by the follow-              of the Aircraft, Auto Or Watercraft Exclu-
     ing:                                                           sion in Part 2., Exclusions of COVERAGE A.
     "Bodily injury" means bodily injury, mental an-                BODILY INJURY AND PROPERTY DAMAGE
     guish, mental injury, shock, fright, disability, hu-           LIABILITY (Section I - Coverages) is deleted
     miliation, sickness or disease sustained by a per-             and replaced by the following:
     son, including death resulting from any of these at              (2) A watercraft you do not own that is:
      any time.
                                                                          (a) Fifty feet long or less; and
  I. INJURY TO CO-EMPLOYEES AND CO-
     VOLUNTEER WORKERS                                                    (b) Not being used to carry persons or
                                                                              property for a charge;
      1. Your "employees" are insureds with respect
           to "bodily injury" to a co-"employee" in the           2. This Provision K. applies to any person who,
           course of the co-"employee's" employment by               with your expressed or implied consent, either
           you, or to your "volunteer workers" while per-            uses or is responsible for the use of a water-
           forming duties related to the conduct of your             craft.
           business, provided that this coverage for your         3. The insurance provided by this Provision K.
           "employees" does not apply to acts outside                shall be excess over any other valid and col-
           the scope of their employment by you or while             lectible insurance available to the insured,
            performing duties unrelated to the conduct of            whether primary, excess, contingent or on
           your business.                                            any other basis, except for insurance pur-
                                                                     chased specifically by you to be excess of
      2. Your "volunteer workers" are insureds with
            respect to "bodily injury" to a co-"volunteer            this policy.
            worker'' while performing duties related to the    L. INCREASED SUPPLEMENTARY PAYMENTS
            conduct of your business, or to your "employ-          Parts b. and d. of SUPPLEMENTARY PAY-
            ees" in the course of the "employee's" em-             MENTS - COVERAGES A AND B (Section I -
            ployment by you, provided that this coverage
                                                                   Coverages) are amended as follows:
            for your "volunteer workers" does not apply
            while performing duties unrelated to the con-          1. In Part b. the amount we will pay for the cost
            duct of your business.                                     of bail bonds is increased to $2500.


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                                                                                  COMMERCIAL GENERAL LIABILITY


     2.   In Part d. the amount we will pay for loss of                   which you are required to notify us in writing
          earnings is increased to $500 a day.                            of the abrupt commencement of a discharge,
  M. KNOWLEDGE AND NOTICE                            OF   OCCUR-          release or escape of "pollutants" which
     RENCE OR OFFENSE                                                     causes "bodily injury" or "property damage"
                                                                          which may otherwise be covered under this
     1. The following is added to COMMERCIAL                              policy.
          GENERAL LIABILITY CONDITIONS (Section
                                                                   N. UNINTENTIONAL OMISSION
          IV), paragraph 2. (Duties In The Event of Oc-
          currence, Offense, Claim or Suit):                         The following is added to COMMERCIAL GEN-
          Notice of an "occurrence" or of an offense                 ERAL LIABILITY CONDITIONS (Section IV),
          which may result in a claim under this insur-              paragraph 6. (Representations):
          ance shall be given as soon as practicable af-             The unintentional omission of, or unintentional
          ter knowledge of the "occurrence" or offense               error in, any information provided by you shall not
          has been reported to any insured listed under              prejudice your rights under this insurance. How-
          Paragraph 1. of Section II - Who Is An In-                 ever, this Provision N. does not affect our right to
          sured or an "employee" (such as an insur-                  collect additional premium or to exercise our right
          ance, loss control or risk manager or adminis-             of cancellation or nonrenewal in accordance with
          trator) designated by you to give such notice.             applicable state insurance laws, codes or regula-
          Knowledge by other "employee(s)" of an "oc-                tions.
          currence" or of an offense does not imply that           0. REASONABLE FORCE - BODILY INJURY OR
          you also have such knowledge.                               PROPERTY DAMAGE
     2.   Notice shall be deemed prompt if given in                   The Expected Or Intended Injury Exclusion in
          good faith as soon as practicable to your                   Part 2., Exclusions of COVERAGE A. BODILY
          workers' compensation insurer. This applies                 INJURY AND PROPERTY DAMAGE LIABILITY
          only if you subsequently give notice to us as               (Section I - Coverages) is deleted and replaced
          soon as practicable after any insured listed                by the following:
          under Paragraph 1. of Section II - Who Is An                (This insurance does not apply to:)
          Insured or an "employee" (such as an insur-
          ance, loss control or risk manager or adminis-              Expected or Intended Injury or Damage
          trator) designated by you to give such notice              "Bodily injury" or "property damage" expected or
          discovers that the "occurrence", offense or                intended from the standpoint of the insured. This
          claim may involve this policy.                             exclusion does not apply to "bodily injury" or
     3.   However, this Provision M. does not apply as               "property damage" resulting from the use of rea-
          respects the specific number of days within                sonable force to protect persons or property.




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                                                                             COMMERCIAL GENERAL LIABILITY



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       AMENDMENT - NON CUMULATION OF EACH
          OCCURRENCE LIMIT OF LIABILITY and
    NON CUMULATION OF PERSONAL and ADVERTISING
                    INJURY LIMIT
  This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART

  1. Paragraph 5 of SECTION 111- LIMITS OF INSUR-           2. Paragraph 4 of SECTION Ill - LIMITS OF INSUR-
     ANCE, is amended to include the following:                ANCE, is amended to include the following:
     Non cumulation of Each Occurrence Limit - If one          Non cumulation of Personal and Advertising Limit
     "occurrence" causes "bodily injury" and/or "prop-         - If "personal injury" and/or "advertising injury'' is
     erty damage" during the policy period and during          sustained by any one person or organization dur-
     the policy period of one or more prior and/or future      ing the policy period and during the policy period
     policies that include a commercial general liability      of one or more prior and/or future policies that
     coverage part for the insured issued by us or any         include a commercial general liability coverage
     affiliated insurance company, the amount we will          part for the insured issued by us or any affiliated
     pay is limited. This policy's Each Occurrence Limit       insurance company, the amount we will pay is
     will be reduced by the amount of each payment             limited. This policy's Personal Injury and Advertis-
     made by us and any affiliated insurance company           ing Injury Limit will be reduced by the amount of
     under the other policies because of such "occur-          each payment made by us and any affiliated in-
     rence".                                                   surance company under the other policies be-
                                                               cause of such "personal injury" and/or "advertising
                                                               injury".




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                                                                                                                         COMMERCIAL GENERAL LIABILITY


                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 AMENDMENT OF COVERAGE - POLLUTION - COOLING,
                                  DEHUMIDIFYING AND WATER HEATING EQUIPMENT
                                                  EXCEPTION
                               This endorsement modifies insurance provided under the following:
                                       COMMERCIAL GENERAL LIABILITY COVERAGE PART

                               PROVISIONS
                               The following replaces Paragraph (1)(a)(i) of Exclusion f., Pollution, in Paragraph 2. of SECTION I - COVER-
                               AGES - COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY:

                               (i) "Bodily injury" if sustained within a building and caused by smoke, fumes, vapor or soot produced by or origi-
                                   nating from equipment that is used to heat, cool or dehumidify the building, or equipment that is used to heat
                                   water for personal use, by the building's occupants or their guests;




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 POLICY NUMBER: 6B0-6C420563-13-42                                            COMMERCIAL GENERAL LIABILITY
                                                                              ISSUE DATE:12/19/2012

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       AMENDMENT OF LIQUOR LIABILITY EXCLUSION--
          EXCEPTION FOR SCHEDULED ACTIVITIES
 This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART




                                                    SCHEDULE
 Description of Activity(ies):    ALL ACTIVITIES WHICH DO NOT GENERATE
                                  REVENUE TO ANY INSURED.




  (If no entry appears above, information required to complete this endorsement will be shown in the Declarations
  as applicable to this endorsement.)

  Exclusion c. of COVERAGE A (Section I) is replaced               (1) Manufacture, sell or distribute alcoholic
  by the following:                                                    beverages;
                                                                   (2) Serve or furnish alcoholic beverages for a
  c.   "Bodily injury" or "property damage" for which                  charge whether or not such activity:
       any insured may be held liable by reason of:
                                                                       (a) Requires a license;
       (1) Causing or contributing to the intoxication of              (b) Is for the purpose of financial gain or
           any person;                                                     livelihood; or
       (2) The furnishing of alcoholic beverages to a              (3) Serve or furnish alcoholic beverages without
           person under the legal drinking age or under                a charge, if a license is required for such
           the influence of alcohol: or                                activity.
       (3) Any statute, ordinance or regulation relating      However, this exclusion does not apply to "bodily
           to the sale, gift, distribution or use of          injury" or "property damage" arising out of the
           alcoholic beverages.                               selling, serving or furnishing of alcoholic beverages
       This exclusion applies only if you:                    at the specific activity(ies) described above.



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                                                                             COMMERCIAL GENERAL LIABILITY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       AMENDMENT OF COVERAGE - PROPERTY DAMAGE
  This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
  PROVISIONS                                                      to occur at the time of the "occurrence" that
  The definition of "property damage" in SECTION V -              caused it.
  DEFINITIONS is deleted in its entirety and replaced        "Property damage" does not include loss of or dam-
  by the following:                                          age to "electronic media and records".
  "Property damage" means:                                   As used in this definition, "electronic media and
  a. Physical injury to tangible property, including all     records" means:
     resulting loss of use of that property. All such loss   a.   Electronic data processing, recording or storage
     of use shall be deemed to occur at the time of the           media such as films, tapes, discs, drums or cells;
     physical injury that caused it; or                      b. Data stored on such media; or
  b. Loss of use of tangible property that is not physi-     c.   Programming records for electronic data process-
      cally injured. All such loss of use shall be deemed         ing or electronically controlled equipment.

                                                                                                                       ''




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                                                                              COMMERCIAL GENERAL LIABILITY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         EMPLOYMENT-RELATED PRACTICES EXCLUSION
  This endorsement modifies insurance provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART
  A. The following exclusion is added to Paragraph 2.,        B. The following exclusion is added to Paragraph 2.,
      Exclusions of Section I - Coverage A - Bodily              Exclusions of Section I - Coverage B - Per-
      Injury And Property Damage Liability:                       sonal And Advertising Injury Liability:
     This insurance does not apply to:                            This insurance does not apply to:
      "Bodily injury" to:                                         "Personal injury" to:
      (1) A person arising out of any:                            (1) A person arising out of any:
                                                                                                                        ,J
          (a) Refusal to employ that person;                          (a) Refusal to employ that person;
          (b) Termination of that person's employment;                (b) Termination of that person's employment;
              or                                                          or
          (c) Employment-related practices, policies,                 (c) Employment-related practices, policies,
              acts or omissions, such as coercion, de-                    acts or omissions, such as coercion, de-
              motion, evaluation, reassignment, disci-                    motion, evaluation, reassignment, disci-
              pline, defamation, harassment, humilia-                     pline, defamation, harassment, humilia-
              tion or discrimination directed at that                     tion or discrimination directed at that
              person; or                                                  person; or
      (2) The spouse, child, parent, brother or sister of         (2) The spouse, child, parent, brother or sister of
          that person as a consequence of "bodily in-                 that person as a consequence of "personal
          jury" to that person at whom any of the em-                 injury" to that person at whom any of the em-
          ployment-related practices described in Para-               ployment-related practices described in Para-
          graphs (a), (b), or (c) above is directed.                  graphs (a), (b), or (c) above is directed.
     This exclusion applies:                                      This exclusion applies:
      (1) Whether the insured may be liable as an em-             (1) Whether the insured may be liable as an em-
          ployer or in any other capacity; and                        ployer or in any other capacity; and
      (2) To any obligation to share damages with or              (2) To any obligation to share damages with or
          repay someone else who must pay damages                     repay someone else who must pay damages
          because of the injury.                                      because of the injury.




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                                                                                             COMMERCIAL GENERAL LIABILITY



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EXCLUSION - UNSOLICITED COMMUNICATION
  This endorsement modifies insurance provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART

  PROVISIONS                                                                  COVERAGE B PERSONAL AND ADVERTISING
  1. The following exclusion is added to Paragraph 2.,                        INJURY LIABILITY:
     Exclusions, of SECTION I - COVERAGES -                                   Unsolicited Communication
     COVERAGE A BODILY INJURY AND PROP-                                       "Personal injury" or "advertising injury" arising out
     ERTY DAMAGE LIABILITY:                                                   of any actual or alleged violation of any law that
     Unsolicited Communication                                                restricts or prohibits the sending, transmitting or
     "Bodily injury" or "property damage" arising out of                      distributing of "unsolicited communication".
     any actual or alleged violation of any law that re-                 3. The following is added to the DEFINITIONS Sec-
     stricts or prohibits the sending, transmitting or dis-                 tion:
     tributing of "unsolicited communication".                                "Unsolicited communication" means any commu-
  2. The following exclusion is added to Paragraph 2.,                        nication, in any form, that the recipient of such
     Exclusions, of SECTION I - COVERAGES -                                   communication did not specifically request to re-
                                                                              ceive.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                MOBILE EQUIPMENT REDEFINED
           EXCLUSION OF VEHICLES SUBJECT TO MOTOR
                        VEHICLE LAWS
  This endorsement modifies insurance provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART
  PROVISIONS                                                          (5) "Bodily injury" or "property damage" aris-
  A. Exclusion g. of COVERAGE A. BODILY INJURY                            ing out of:
     AND PROPERTY DAMAGE LIABILITY (Section                               {a) The operation of machinery or
     I - Coverages) is deleted and replaced by the fol-                       equipment that is attached to, or part
     lowing:                                                                  of, a land vehicle that would qualify
     g. Aircraft, Auto Or Watercraft                                          under the definition of "mobile equip-
                                                                              menr• if it were not subject to a com-
         "Bodily injury" or "property damage" arising                         pulsory or financial responsibility law
         out of the ownership, maintenance, use or en-                        or other motor vehicle insurance law
         trustment to others of any aircraft, "auto" or                       in the state where it is licensed or
         watercraft owned or operated by or rented or                         principally garaged; or
         loaned to any insured. Use includes operation
         and "loading or unloading".                                      (b) The operation of any of the machin-
                                                                              ery or equipment listed in Paragraph
         This exclusion applies even if the claims                            f.(2) or f.(3) of the definition of "mo-
         against any insured allege negligence or                             bile equipment".
         other wrongdoing in the supervision, hiring,
         employment, training or monitoring of others        B. SECTION V - DEFINITIONS
         by that insured, if the "occurrence" which              The definition of "auto" (paragraph 2.) is deleted
         caused the "bodily injury" or "property dam-            and replaced by the following:
         age" involved the ownership, maintenance,               2. "Auto" means:
         use or entrustment to others of any aircraft,
         "auto" or watercraft that is owned or operated               a. A land motor vehicle, trailer or semitrailer
         by or rented or loaned to any insured.                           designed for travel on public roads, in-
                                                                          cluding any attached machinery or
         This exclusion does not apply to:                                equipment; or
         (1) A watercraft while ashore on premises                    b. Any other land vehicle that is subject to a
             you own or rent;                                             compulsory or financial responsibility law
         (2) A watercraft you do not own that is:                         or other motor vehicle insurance law in
             {a) Less than 26 feet long; and                              the state where it is licensed or principally
                                                                          garaged.
             {b) Not being used to carry persons or
                   property for a charge;                             However, "auto" does not include "mobile
                                                                      equipment".
         (3) Parking an "auto" on, or on the ways next
             to, premises you own or rent, provided              The definition of "mobile equipmenr' is deleted
             the "auto" is not owned by or rented or             and replaced by the following:
             loaned to you or the insured;                       12. "Mobile equipment" means any of the follow-
         (4) Liability assumed under any "insured con-                ing types of land vehicles, including any at-
             tracr• for the ownership, maintenance or                 tached machinery or equipment:
             use of aircraft or watercraft; or                        a. Bulldozers, farm machinery, forklifts and
                                                                          other vehicles designed for use principally
                                                                          off public roads;


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   COMMERCIAL GENERAL LIABILITY


         b. Vehicles maintained for use solely on or                      equipment are not "mobile equipment"
               next to premises you own or rent;                          but will be considered "autos":
         c. Vehicles that travel on crawler treads;                       (1) Equipment designed primarily for:
         d. Vehicles, whether self-propelled or not,                          (a) Snow removal;
            maintained primarily to provide mobility to                       (b) Road maintenance, but not con-
            permanently mounted:                                                     struction or resurfacing; or
               (1) Power cranes, shovels, loaders, dig-                       (c) Street cleaning;
                   gers or drills; or
                                                                          (2) Cherry pickers and similar devices
               (2) Road construction or resurfacing                           mounted on automobile or truck
                   equipment such as graders, scrapers                        chassis and used to raise or lower
                   or rollers;                                                workers; and
         e. Vehicles not described in a., b., c. or d.                    (3) Air compressors, pumps and genera-
            above that are not self-propelled and are                         tors, including spraying, welding,
            maintained primarily to provide mobility to                       building cleaning, geophysical explo-
            permanently attached equipment of the                             ration, lighting and well servicing
            following types:                                                  equipment.
               (1) Air compressors, pumps and genera-                 However, "mobile equipment" does not in-
                   tors, including spraying, welding,                 clude any land vehicles that are subject to a
                   building cleaning, geophysical explo-              compulsory or financial responsibility law or
                   ration, lighting and well servicing                other motor vehicle insurance law in the state
                   equipment; or                                      where it is licensed or principally garaged.
               (2) Cherry pickers and similar devices                 Land vehicles subject to a compulsory or fi-
                   used to raise or lower workers;                    nancial responsibility law or other motor vehi-
         f.    Vehicles n'ot described in a., b., c. or d.            cle insurance law are considered "autos".
               above maintained primarily for purposes        C. WHO IS AN INSURED
               other than the transportation of persons           Paragraph 3. of SECTION II - Who Is An Insured
               or cargo.                                          is deleted.
               However, self-propelled vehicles with the
               following types of permanently attached




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                                                                                                                                        COMMERCIAL GENERAL LIABILITY



                                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      AMENDMENT OF CONTRACTUAL LIABILITY EXCLUSION
                                      - EXCEPTION FOR DAMAGES ASSUMED IN AN INSURED
                                         CONTRACT APPLIES ONLY TO NAMED INSURED
                                  This endorsement modifies insurance provided under the following:
                                                    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                  PROVISIONS                                                                                  a. The "suit" against the indemnitee seeks
                                                                                                                                 damages for which you have assumed
                                  1.          The following replaces Paragraph (2) of Exclusion
                                                                                                                                 the liability of the indemnitee in a contract
                                              b., Contractual Liability, in Paragraph 2. of                                      or agreement that is an "insured con-
                                              SECTION I - COVERAGES - COVERAGE A                                                 tract";
                                              BODILY INJURY AND PROPERTY DAMAGE
                                              LIABILITY:                                                                      b. This insurance applies to such liability as-
                                                                                                                                 sumed by you;
                                              (2) Assumed by you in a contract or agreement
                                                    that is an "insured contract", provided that the                          c. The obligation to defend, or the cost of
                                                    "bodily injury" or "property damage" occurs                                    the defense of, that indemnitee has also
                                                    subsequent to the execution of the contract or                                 been assumed by you in the same "in-
                                                    agreement. Solely for the purposes of liability                                sured contract";
                                                    assumed by you in an "insured contract". rea-                             d. The allegations in the "suit" and the in-
                                                    sonable attorney fees and necessary litigation                               formation we know about the "occur-
                                                    expenses incurred by or for a party other than                               rence" or offense are such that we de-
                                                    an insured will be deemed to be damages                                      termine that no conflict exists between
                                                    because of "bodily injury" or "property dam-                                 your interests and the interests of the in-
                                                    age". provided that:                                                         demnitee;
                                                    (a) Liability to such party for. or for the cost                          e. You and the indemnitee ask us to con-
                                                        of, that party's defense has also been as-                                 duct and control the defense of that in-
                                                        sumed by you in the same "insured con-                                     demnitee against such "suit" and agree
                                                        tract"; and                                                                that we can assign the same counsel to
                                                                                                                                   defend you and the indemnitee; and
                                                    (b) Such attorney fees and litigation ex-
                                                        penses are for defense of that party                             3. The following replaces the last sentence of
                                                        against a civil or alternative dispute reso-                        Paragraph 2. of SUPPLEMENTARY PAY-
                                                        lution proceeding in which damages to                               MENTS - COVERAGES A AND B of SEC-
                                                        which this insurance applies are alleged.                           TION I - COVERAGES:
                                  2.          The following replaces the beginning of Para-                                   Our obligation to defend your indemnitee and
                                              graph 2 .. and Paragraphs 2.a .• b., c., d. and e., of                          to pay for attorneys' fees and necessary litiga-
                                              SUPPLEMENTARY PAYMENTS - COVER-                                                 tion expenses as Supplementary Payments
                                              AGES A AND B of SECTION I - COVERAGES:                                          ends when:
                                              2.    If we defend you against a "suit" and your in-                            a. , We have used up the applicable limit of
                                                    demnitee is also named as a party to the                                       insurance in the payment of judgments,
                                                    "suit", we will have the right and duty to de-                                 settlements or medical expenses; or
                                                    fend that indemnitee if all of the following
                                                    conditions are met:                                                       b. The conditions set forth above, or the
                                                                                                                                   terms of the agreement described in
                                                                                                                                   Paragraph f. above, are no longer met.




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                                                                                              COMMERCIAL GENERAL LIABILITY


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION - FINANCIAL PROFESSIONAL SERVICES
  This endorsement modifies insurance provided under the following:
           COMMERCIAL GENERAL LIABILITY COVERAGE PART

  PROVISIONS
  1. The following exclusion is added to Paragraph 2.,                              agent, tax withholding agent, escrow agent.
     Exclusions, of SECTION I - COVERAGES -                                         clearing agent. wire transfer agent or agent
     COVERAGE A BODILY INJURY AND PROP-                                             for the purpose of accomplishing any activity
     ERTY DAMAGE LIABILITY:                                                         listed in paragraphs b. through k. below;
       Financial Professional Services                                        b.    Planning, managing, administering, advising
       "Bodily injury" or "property damage" arising out of                          on or acting in a fiduciary capacity for:
       providing or failing to provide "financial profes-                           (1) Any investment, trust, pension, annuity,
       sional services" by any insured to others.                                        deposit account, individual retirement
       This exclusion does not apply to any:                                             plan, fund or account, welfare fund, mu-
                                                                                         tual fund or other similar financial ac-
       (1) Typographical error:                                                          count;
       (2) Clerical error in any deposit into or withdrawal
                                                                                    (2) The issuance or withdrawal of any bond,
           from any customer's account;                                                  debenture, stock or other security;
       (3) Clerical error in disclosing financial informa-                          (3) The trading or brokerage of any security,
           tion; or                                                                     commodity or currency;
       (4) Other act, error or omission of a clerical na-
                                                                                    (4) Any acquisition, merger, dissolution or
           ture.
                                                                                        other business consolidation or expan-
  2. The following exclusion is added to Paragraph 2.,                                  sion;
     Exclusions, of SECTION I - COVERAGES -                                         (5) Debt or credit counseling; or
     COVERAGE B PERSONAL AND ADVERTISING
     INJURY LIABILITY:                                                              (6) Personal finance consulting;
     Financial Professional Services                                           c. Performing any lending, leasing or mortgage
                                                                                  operation or activity;
       "Personal injury" or "advertising injury" arising out
       of providing or failing to provide "financial profes-                   d. Performing any credit card or debit card op-
       sional services" by any insured to others.                                   eration or activity;
       This exclusion does not apply to any:                                   e. Performing any real estate operation or activ-
                                                                                  ity;
       (1) Typographical error:
                                                                              f.    Checking or reporting of credit;
       (2) Clerical error in any deposit into or withdrawal
           from any customer's account;                                        g. Maintaining or providing information concern-
                                                                                    ing any financial account, record or balance;
       (3) Clerical error in disclosing financial informa-
           tion; or                                                            h. Tax planning, tax advising or preparing any
                                                                                  tax return;
       (4) Other act, error or omission of a clerical na-
           ture.                                                              i.   Handling any travelers check, certified check,
                                                                                   bank check, money order, other similar mone-
  3.   The following is added to the DEFINITIONS Sec-                              tary instrument or money transfer;
       tion:
                                                                              j.   Administering or leasing any safe deposit or
       "Financial professional services" includes any of
                                                                                   lock box;
       the following professional services:
                                                                              k. With respect to any contract or treaty of in-
       a. Acting as a dividend disbursing agent, ex-                             surance, reinsurance, suretyship, annuity,
           change agent, redemption or subscription
                                                                                 endowment or employee benefit plan, nurs-
           agent, warrant or scrip agent, fiscal or paying
                                                                                 ing, medical, dental, psychiatric or laboratory


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  COMMERCIAL GENERAL LIABILITY


        service, health facility management or other                            (5) Investigating, defending, handling, adjust-
        health maintenance or cost containment pro-                                 ing or settling any claim or "suit":
        gram, including any application, receipt or                        I.   Administering, managing, being a member of
        binder:                                                                 or contributing to any plan, pool, association,
        (1) Assuming any obligation;                                            insolvency or guarantee fund or any similar
                                                                                fund, organization or association:
        (2) Discharging any obligation or duty, con-
            tractual or otherwise;                                         m. Auditing any account or record of others: or
        (3) Advising, inspecting, reporting or making                      n. Performing any actuarial, adjustment, ap-
            any recommendation;                                               praisal, audit, claim, consulting, data process-
                                                                              ing, engineering, inspection, investigative or
         (4) Effecting coverage; or                                           survey service.




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                                                                                       COMMERCIAL GENERAL LIABILITY



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION -VIOLATION OF CONSUMER FINANCIAL
                    PROTECTION LAWS
  This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                          "Consumer financial identity information" means
   PROVISIONS
                                                                          any of the following information for a person that
   1. The following exclusion is added to Paragraph                       is used or collected for the purpose of serving
      2., Exclusions, of SECTION I - COVERAGES                            as a factor in establishing such person's eligibil-
      - COVERAGE A BODILY INJURY AND                                      ity for personal credit, insurance or employment.
      PROPERTY DAMAGE LIABILITY:                                          or for the purpose of conducting a business
      Violation Of Consumer Financial Protection                          transaction:
      Laws                                                                 a. Part or all of the account number, the expi-
      "Bodily injury" or "property damage" arising out                        ration date or the balance of any credit,
      of any actual or alleged violation of a "consumer                       debit, bank or other financial account.
      financial protection law", or any other "bodily in-                  b. Information bearing on a person's credit
      jury" or "property damage" alleged in any claim                         worthiness, credit standing or credit capac-
      or "suit" that also alleges any such violation.                         ity.
   2. The following exclusion is added to Paragraph                        c. Social security number.
      2., Exclusions, of SECTION I - COVERAGES
       - COVERAGE B PERSONAL AND ADVER-                                    d. Drivers license number.
       TISING INJURY LIABILITY:                                            e. Birth date.
       Violation Of Consumer Financial Protection                          "Consumer financial protection law" means:
       Laws                                                                a. The Fair Credit Reporting Act (FCRA) and
       "Personal injury'' or "advertising injury" arising                     any of its amendments, including the Fair
       out of any actual or alleged violation of a "con-                      and Accurate Credit Transactions Act
       sumer financial protection law", or any other                          (FACTA);
       "personal injury" or "advertising injury" alleged in                b. California's Song-Beverly Credit Card Act
       any claim or "suit" that also alleges any such                           and any of its amendments; or
       violation.
                                                                           c. Any other law or regulation that restricts or
   3. The following is added to the DEFINITIONS                               prohibits the      collection,   dissemination,
      Section:                                                                transmission, distribution or use of "con-
                                                                              sumer financial identity information".




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                                                                           COMMERCIAL GENERAL LIABILITY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            EXCLUSION-DISCRIMINATION
  This endorsement modifies insurance provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PROVISIONS
   1. COVERAGE A - BODILY INJURY AND PROP-                   2. COVERAGE B - PERSONAL AND ADVERTIS-
     ERTY DAMAGE LIABILITY - is amended by ad-                  ING INJURY LIABILITY - is amended by adding
     ding the following additional exclusion:                   the following additional exclusion:
     (This Insurance does not apply to:)                        (This insurance does not apply to:)
     "Bodily injury" resulting from or as a consequence         "Personal injury" resulting from or as a conse-
     of discrimination, whether intentional or uninten-         quence of discrimination, whether intentional or
     tional, based upon a person's sex, sexual prefer-          unintentional, based upon a person's sex, sexual
     ence, marital status, race, creed, religion, na-           preference, marital status, race, creed, religion,
     tional origin, age, physical capabilities, character-      national origin, age, physical capabilities, charac-
     istics or condition, or mental capabilities or con-        teristics or condition, or mental capabilities or
     dition.                                                    condition.




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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                          EXCLUSION - WAR
  This endorsement modifies insurance provided under the following:
            COMMERCIAL GENERAL LIABILITY COVERAGE PART

   A. Exclusion i. under Paragraph 2., Exclusions of                      B. The following exclusion is added to Paragraph 2.,
      Section I - Coverage A - Bodily Injury And                             Exclusions of Section I - Coverage B - Per·
      Property Damage Liability is replaced by the                           sonal And Advertising Injury Liability:
      following:                                                                2. Exclusions:
      2.    Exclusions:                                                                 This insurance does not apply to:
            This insurance does not apply to:                                           War
            i.   War                                                                    "Personal injury" or "advertising injury" aris-
                 "Bodily injury" or "property damage" aris-                             ing, directly or indirectly, out of:
                 ing, directly or indirectly, out of:                                   (1) War, including undeclared or civil war; or
                 (1) War, including undeclared or civil                                 (2) Warlike action by a military force, includ-
                     war; or                                                                ing action in hindering or defending
                 (2) Warlike action by a military force, in-                                against an actual or expected attack, by
                     cluding action in hindering or de-                                     any government, sovereign or other
                     fending against an actual or expected                                  authority using military personnel or other
                     attack, by any government, sovereign                                   agents; or
                     or other authority using military per-                             (3) Insurrection,    rebellion,   revolution,
                     sonnel or other agents; or                                             usurped power, or action taken by gov-
                 (3) Insurrection, rebellion, revolution,                                   ernmental authority in hindering or de-
                     usurped power, or action taken by                                      fending against any of these
                     governmental authority in hindering                                regardless of any other cause or event that
                     or defending against any of these                                  contributes concurrently or in any sequence
                 regardless of any other cause or event                                 to the injury.
                 that contributes concurrently or in any se-
                 quence to the injury or damage.




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                                                                                      COMMERCIAL GENERAL LIABILITY



                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                             EXCLUSION - ASBESTOS
              This endorsement modifies insurance provided under the following:
                            COMMERCIAL GENERAL LIABILITY COVERAGE PART
                            OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                            RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                            CATASTROPHE UMBRELLA POLICY
              This insurance does not apply to "bodily injury,"        a. Any supervision, instructions, recommendations,
              "property damage," "personal injury'' or "advertising       warnings or advice given or which should have
              injury" arising out of the actual or alleged presence       been given in connection with the above; and
              or actual, alleged or threatened dispersal of asbes-     b. Any obligation to share damages with or repay
              tos, asbestos fibers or products containing asbestos,       someone else who must pay damages because
              provided that the injury or damage is caused or con-        of such injury or damage.
              tributed to by the hazardous properties of asbestos.
              This includes:




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          NEW JERSEY CHANGES - LOSS INFORMATION
  This endorsement modifies insurance provided under the foHowing:
  COMMERCIAL GENERAL LIABILITY COVERAGE PART ("OCCURRENCE" VERSION)

 The following Condition is added to COMMERCIAL                      gate Limit and Products-Completed Opera-
 GENERAL LIABILITY CONDITIONS (Section IV):                          tions Aggregate Limit.
  10. Your Right to Loss Information                            Amounts reserved are based on our judgment.
     We will provide the first Named Insured shown in           They are subject to change and should not be
     the Declarations the following loss information            regarded as ultimate settlement values.
     relating to this and any preceding general liability       You must not disclose this information to any
                                                                                                                      ~   ::_
     Coverage Part we have issued to you during the             claimant or any claimant's representative without
     previous three years:                                      our consent.
     a. A list or other record of each "occurrence" of          We will provide this information only if we receive
        which we were notified in accordance with               a written request from the first Named Insured
        paragraph 2.a. of the Duties in the Event of            during the policy period. We will provide this in-
        Occurrence, Offense, Claim or Suit Condition            formation within 45 days of receipt of the re-
        in this Section. We will include a brief                quest.
        description of the "occurrence" and informa-
                                                                We compile claim and "occurrence" information
        tion on whether any claim arising out of the
                                                                for our own business purposes and exercise
        "occurrence" is open or closed.
                                                                reasonable care in doing so. In providing this
     b. A summary by policy year, of payments                   information to the first Named Insured, we make
        made and amounts reserved, stated sep-                  no representations or warranties to insureds, in-
        arately under any applicable General Aggre-             surers or others to whom this information is fur-
                                                                nished by or on behalf of any insured.




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                                               MULTIPLE SUBLINE
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    MULTIPLE SUBLINE
    ENDORSEMENTS
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                                                                           COMMERCIAL GENERAL LIABILITY


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       LIMITATION WHEN TWO OR MORE POLICIES APPLY
  This endorsement modifies insurance provided under the following:
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          EMPLOYEE BENEFITS LIABILITY COVERAGE PART
          LIQUOR LIABILITY COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

  Provisions
  1. Injury, damage or loss might be covered by this policy and also by other policies issued to you by us or any
     Travelers affiliate. When these other policies contain a provision similar to this one, the amount we will pay is
     limited. The maximum that we will pay under all such policies combined is the highest limit that applies in
     any one of these policies.
  2. This does not apply to any personal liability policy or to any Umbrella, Excess or Protective Liability Policy.




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                                                         INTERLINE
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    INTERLINE
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
  This endorsement modifies insurance provided under the following:
      COMMERCIAL PROPERTY COVERAGE PART
      DELUXE PROPERTY COVERAGE PART
      COMMERCIAL INLAND MARINE COVERAGE PART
      FARM COVERAGE PART
  A. The exclusion set forth in Paragraph 8. applies to                      croorganism that induces or is capable of induc--
     all coverage under all forms and endorsements                           ing physical distress, illness or disease.
     that comprise this Coverage Part or Policy, in-                   C. With respect to any loss or damage subject to the
     cluding but not limited to forms or endorsements                     exclusion in Paragraph 8., such exclusion super-
     that cover property damage to buildings or per-                      sedes any exclusion relating to "pollutants".
     sonal property and forms or endorsements that
                                                                        D. The terms of the exclusion in Paragraph B., or the
     cover business income, extra expense, rental
                                                                           inapplicability of this exclusion to a particular loss,
     value or action of civil authority.
                                                                           do not serve to create coverage for any loss that
  B. We will not pay for loss or damage caused by or                       would otherwise be excluded under this Coverage
     resulting from any virus, bacterium or other mi-                      Part or Policy.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


  This endorsement modifies insurance provided under the following:
          COMMERCIAL AUTOMOBILE COVERAGE PART
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          FARM COVERAGE PART
          LIQUOR LIABILITY COVERAGE PART
          MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
          OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
          POLLUTION LIABILITY COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
          RAILROAD PROTECTIVE LIABILITY COVERAGE PART
          UNDERGROUND STORAGE TANK POLICY

  1. The insurance does not apply:                                    "hazardous properties" of "nuclear material",
     A. Under any Liability Coverage, to "bodily in-                   if:
         jury" or "property damage":                                   (1) The "nuclear material" (a) is at any "nu-
                                                                           clear facility" owned by, or operated by or
         (1) With respect to which an "insured" under
                                                                           on behalf of, an "insured" or {b) has been
             the policy is also an insured under a nu-
                                                                           discharged or dispersed therefrom;
             clear energy liability policy issued by Nu-
              clear Energy Liability Insurance Associa-                (2) The "nuclear material" is contained in
             tion, Mutual Atomic Energy Liability Un-                      "spent fuel" or "waste" at any time pos-
             derwriters, Nuclear Insurance Association                     sessed, handled, used, processed,
             of Canada or any of their successors, or                      stored, transported or disposed of, by or
             would be an insured under any such pol-                       on behalf of an "insured"; or
              icy but for its termination upon exhaustion              (3) The "bodily injury" or "property damage"
             of its limit of liability; or                                 arises out of the furnishing by an "in-
         (2) Resulting from the "hazardous properties"                     sured" of services, materials, parts or
             of "nuclear material" and with respect to                     equipment in connection with the plan-
             which {a) any person or organization is                       ning, construction, maintenance, opera-
              required to maintain financial protection                    tion or use of any "nuclear facility", but if
              pursuant to the Atomic Energy Act of                         such facility is located within the United
             1954, or any law amendatory thereof, or                       States of America, its territories or pos-
             (b) the "insured" is, or had this policy not                  sessions or Canada, this exclusion (3)
              been issued would be, entitled to indem-                     applies only to "property damage" to such
              nity from the United States of America, or                   "nuclear facility" and any property thereat.
             any agency thereof, under any agreement        2. As used in this endorsement:
             entered into by the United States of
                                                                   "Hazardous properties" includes radioactive, toxic
             America, or any agency thereof, with any
                                                                   or explosive properties.
              person or organization.
                                                                   "Nuclear material" means "source material", "spe-
      B. Under any Medical Payments coverage, to
                                                                   cial nuclear material" or "by-product material".
         expenses incurred with respect to "bodily in-
         jury" resulting from the "hazardous properties"           "Source material", "special nuclear material", and
         of "nuclear material" and arising out of the              "by-product material" have the meanings given
         operation of a "nuclear facility" by any person           them in the Atomic Energy Act of 1954 or in any
         or organization.                                          law amendatory thereof.
      C. Under any Liability Coverage, to "bodily in-              "Spent fuel" means any fuel element or fuel com-
         jury" or "property damage" resulting from                 ponent, solid or liquid, which has been used or
                                                                   exposed to radiation in a "nuclear reactor".

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                                                                       the total amount of such material in the
    "Waste" means any waste material (a) containing
                                                                       custody of the "insured" at the premises
    "by-product material" other than the tailings or
                                                                       where such equipment or device is lo-
    wastes produced by the extraction or concentra-
                                                                       cated consists of or contains more than
    tion of uranium or thorium from any ore proc-
                                                                       25 grams of plutonium or uranium 233 or
    essed primarily for its "source material" content,
                                                                       any combination thereof, or more than
    and (b) resulting from the operation by any per-
    son or organization of any "nuclear facility" in-                  250 grams of uranium 235;
     cluded under the first two paragraphs of the defi-            (d} Any structure, basin, excavation, prem-
     nition of "nuclear facility".                                      ises or place prepared or used for the
                                                                        storage or disposal of "waste";
    "Nuclear facility" means:
                                                               and includes the site on which any of the forego-
       (a) Any "nuclear reactor'';
                                                               ing is located, all operations conducted on such
       (b) Any equipment or device designed or                 site and all premises used for such operations.
            used for (1) separating the isotopes of
            uranium or plutonium, (2) processing or            "Nuclear reactor'' means any apparatus designed
            utilizing "spent fuel", or (3) handling,           or used to sustain nuclear fission in a self-
            processing or packaging "waste";                   supporting chain reaction or to contain a critical
                                                               mass of fissionable material.
        (c) Any equipment or device used for the
            processing, fabricating or alloying of             "Property damage" includes all forms of radioac-
            "special nuclear material" if at any time          tive contamination of property.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    NEW JERSEY CHANGES
   This endorsement modifies insurance provided under the following:
          CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
          COMMERCIAL INLAND MARINE COVERAGE PART
          COMMERCIAL PROPERTY COVERAGE PART
          STANDARD PROPERTY POLICY
   A. The following exclusion and related provisions              To the extent that the Concealment, Misrepresen-
      are added:                                                  tation Or Fraud Condition conflicts with the provi-
      1. We will not pay for loss or damage arising out           sions of Paragraph A.2. above, the provisions of
          of any act committed:                                   A.2. will apply.
          a.   By or at the direction of any insured; and     B. The following is added to the Transfer Of Rights
                                                                 Of Recovery Against Others To Us Condition:
         b. With the intent to cause a loss.
                                                                  If we pay a co-insured for loss arising out of an
      2. However, this exclusion will not apply to deny           act of domestic violence by another insured, the
          paY,ment to a co-insured who did not cooper-            rights of the co-insured, who did not cooperate in
          ate in or contribute to the creation of the loss        or contribute to the creation of the loss, to re-
          if the loss arose out of domestic violence.             cover damages from the perpetrator of domestic
      3. If we pay a claim pursuant to Paragraph A.2.,            violence are transferred to us to the extent of our
          our payment to the insured is limited to that           payment. Following the loss, the co-insured who
          insured's insurable interest in the property. In        did not cooperate in or contribute to the loss may
          no event will we pay more than the Limit of             not waive such rights to recover against the per-
          Insurance.                                              petrator of domestic violence.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     NEW JERSEY CHANGES - CIVIL UNION
   This endorsement modifies insurance provided under the following:
          COMMERCIAL AUTOMOBILE COVERAGE PART
          COMMERCIAL GENERAL LIABILITY COVERAGE PART
          COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
          ELECTRONIC DATA LIABILITY COVERAGE PART
          EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
          FARM COVERAGE PART
          FARM UMBRELLA LIABILITY POLICY
          LIQUOR LIABILITY COVERAGE PART
          MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
          OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
          POLLUTION LIABILITY COVERAGE PART
          PRODUCT WITHDRAWAL COVERAGE PART
          PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
          UNDERGROUND STORAGE TANK POLICY

   A. The term "spouse" is replaced by the following:                  under New Jersey law, who is a resident of
      Spouse or party to a civil union recognized under                the individual's household, including a ward or
      New Jersey law.                                                  foster child, if the Drive Other Car Coverage -
                                                                       Broadened Coverage For Named Individual
   8. Under the Commercial Auto Coverage Part, the                     Endorsement is attached.
      term "family member'' is replaced by the following:
                                                            C. With respect to coverage for the ownership, main-
      "Family member'' means a person related to the:          tenance, or use of "covered autos" provided un-
      1. Individual Named Insured by blood, adoption,          der the Commercial Liability Umbrella Coverage
          marriage or civil union recognized under New         Part, the term "family member" is replaced by the
          Jersey law, who is a resident of such Named          following:
          lnsured's household, including a ward or fos-         "Family member" means a person related to you
          ter child; or                                         by blood, adoption, marriage or civil union recog-
      2. Individual named in the Schedule by blood,             nized under New Jersey law, who is a resident of
          adoption, marriage or civil union recognized          your household, including a ward or foster child.




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                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   PENNSYLVANIA CHANGES -ACTUAL CASH VALUE

                             This endorsement modifies insurance provided under the following:
                                     CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                                     COMMERCIAL INLAND MARINE COVERAGE PART
                                     COMMERCIAL PROPERTY COVERAGE PART
                                     CRIME AND FIDELITY COVERAGE PART
                                     EQUIPMENT BREAKDOWN COVERAGE PART
                                     FARM COVERAGE PART
                                     STANDARD PROPERTY POLICY

                             The following is added to any provision which uses         tion and obsolescence. Actual cash value applies to
                             the term actual cash value:                                valuation of Covered Property regardless of whether
                             Actual cash value is calculated as the amount it would     that property has sustained partial or total loss or
                             cost to repair or replace Covered Property, at the time    damage.
                             of loss or damage, with material of like kind and qual-    The actual cash value of the lost or damaged property
                             ity, subject to a deduction for deterioration, deprecia-   may be significantly less than its replacement cost.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  PENNSYLVANIA CHANGES
   This endorsement modifies insurance provided under the following:
           CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
           COMMERCIAL INLAND MARINE COVERAGE PART
           COMMERCIAL PROPERTY COVERAGE PART
           CRIME AND FIDELITY COVERAGE PART
           EQUIPMENT BREAKDOWN COVERAGE PART
           FARM COVERAGE PART

   A. For insurance provided under the:                       B. For insurance provided under the:
      Capital Assets Program (Output Policy) Coverage             Capital Assets Program (Output Policy) Coverage
      Part                                                        Part
      Commercial Inland Marine Coverage Part                      Commercial Inland Marine Coverage Part
      Commercial Property Coverage Part                           Commercial Property Coverage Part
      Crime And Fidelity Coverage Part                            Farm Coverage Part
      Equipment Breakdown Coverage Part                           The following is added to the LOSS PAYMENT
      The TRANSFER OF YOUR RIGHTS AND DU-                         Loss Condition and supersedes any provision to
      TIES UNDER THIS POLICY Common Policy                        the contrary:
      Condition is replaced by the following:                     NOTICE OF ACCEPTANCE OR DENIAL OF
      F. TRANSFER OF YOUR RIGHTS AND DU-                          CLAIM
         TIES UNDER THIS POLICY                                   1. Except as provided in 3. below, we will give
          Your rights and duties under this policy may               you notice, within 15 working days after we
          not be transferred without our written consent               receive a properly executed proof of loss, that
          except in the case of death of an individual                 we:
          named insured.                                               a. Accept your claim;
          If you die, your rights and duties will be trans-            b.    Deny your claim; or
          ferred to your legal representative but only                 c. Need more time to determine whether
          while acting within the scope of duties as your                    your claim should be accepted or denied.
          legal representative. Until your legal repre-
                                                                       If we deny your claim, such notice will be in
          sentative is appointed, anyone having proper
                                                                       writing, and will state any policy provision,
          temporary custody of your property will have
                                                                       condition or exclusion used as a basis for the
          your rights and duties but only with respect to
                                                                       denial.
          that property.
                                                                       If we need more time to determine whether
          If you die, this Coverage Part will remain in
                                                                       your claim should be accepted or denied, the
          effect as provided in 1. or 2. below, whichever
                                                                       written notice will state the reason why more
          is later:
                                                                       time is required.
          1. For 180 days after your death regardless
              of the policy period shown in the Declara-          2. If we have not completed our investigation,
              tions, unless the insured property is sold               we will notify you again in writing, within 30
              prior to that date; or                                   days after the date of the initial notice as pro-
                                                                       vided in 1.c. above, and thereafter every 45
          2. Until the end of the policy period shown in               days. The written notice will state why more
              the Declarations, unless the insured
                                                                       time is needed to investigate your claim and
              property is sold prior to that date.
                                                                       when you may expect us to reach a decision
          Coverage during the period of time after your                on your claim.
          death is subject to all provisions of this policy       3. The notice procedures in 1. and 2. above do
          including payment of any premium due for the                 not apply if we have a reasonable basis, sup-
          policy period shown in the Declarations and                  ported by specific information, to suspect that
          any extension of that period.
                                                                       an insured has fraudulently caused or con-
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         tributed to the loss by arson or other illegal            within a period of time reasonable to allow full
                                                                   investigation of the claim, after we receive a
         activity. Under such circumstances, we will
         notify you of the disposition of your claim               properly executed proof of loss.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    NEW JERSEY CHANGES- CANCELLATION
                             AND NONRENEWAL
   This endorsement modifies insurance provided under the following:
           CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
           COMMERCIAL AUTOMOBILE COVERAGE PART
           COMMERCIAL GENERAL LIABILITY COVERAGE PART
           COMMERCIAL INLAND MARINE COVERAGE PART
           COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
           COMMERCIAL PROPERTY COVERAGE PART
           CRIME AND FIDELITY COVERAGE PART
           EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
           EQUIPMENT BREAKDOWN COVERAGE PART
           FARM COVERAGE PART
           FARM UMBRELLA LIABILITY POLICY
           LIQUOR LIABILITY COVERAGE PART
           POLLUTION LIABILITY COVERAGE PART
           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   A. Pursuant to New Jersey law, this policy cannot be                              (i) "The risk, danger or probabil-
      cancelled or nonrenewed for any underwriting                                        ity that the insured will de-
      reason or guideline which is arbitrary, capricious                                  stroy, or permit to be de-
      or unfairly discriminatory or without adequate                                      stroyed, the insured property
      prior notice to the insured. The underwriting rea-                                  for the purpose of collecting
      sons or guidelines that an insurer can use to can-                                  the insurance proceeds. Any
      cel or nonrenew this policy are maintained by the                                   change in the circumstances
      insurer in writing and will be furnished to the in-                                 of an insured that will in-
      sured and/or the insured's lawful representative                                    crease the probability of such
      upon written request.                                                               a destruction may be consid-
      This provision shall not apply to any policy which                                  ered a 'moral hazard"'; and
      has been in effect for less than 60 days at the                                (ii) "The substantial risk, danger
      time notice of cancellation is mailed or delivered,                                 or probability that the charac-
      unless the policy is a renewal policy.                                              ter, circumstances or per-
   B. Paragraph 2. of the Cancellation Common Policy                                      sonal habits of the insured
      Condition is replaced by the following:                                             may increase the possibility
                                                                                          of loss or liability for which an
      2. If this policy has been in effect for less than                                  insurer will be held responsi-
          60 days, we may cancel this policy for any                                      ble. Any change in the char-
          reason subject to the following:                                                acter or circumstances of an
           a. We may cancel this policy by mailing or                                     individual, corporate, partner-
              delivering to the first Named Insured and                                   ship or other insured that will
              any person entitled to notice under this                                    increase the probability of
              policy written notice, of cancellation, at                                  such a loss or liability may be
              least:                                                                      considered a 'moral hazard"'.
              (1) 10 days before the effective date of                       (2) 30 days before the effective date of
                  cancellation if we cancel for:                                 cancellation if we cancel for any other
                    (a) Nonpayment of premium; or                                reason.
                    (b) Existence of a moral hazard, as                b. In the notice of cancellation which is sent
                       defined in N.J.A.C. 11 :1-20.2(f)                  to the first Named Insured, we will state
                       as follows:                                        the reason for cancellation.




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   C. The following is added to the Cancellation Com-                     (13) Agency termination, provided:
      mon Policy Condition:                                                     (a) We document that replacement
      7. Cancellation Of Policies In Effect For 60                                   coverage at comparable rates
         Days Or More                                                                and terms has been provided to
          a.    If this policy has been in effect for 60                             the first Named Insured, and we
                days or more, or is a renewal of a policy                            have informed the first Named
                we issued, we may cancel this policy only                            Insured, in writing, of the right to
                for one or more of the following reasons:                            continue coverage with us; or
                (1} Nonpayment of premium;                                      (b) We have informed the first
                                                                                     Named Insured, in writing, of the
                (2) Existence of a moral hazard, as de-                              right to continue coverage with us
                    fined in N.J.A.C. 11:1-20.2(f};                                  and the first Named Insured has
                (3) Material misrepresentation or nondis-                            agreed, in writing, to the cancella-
                    closure to us of a material fact at the                          tion or nonrenewal based on the
                    time of acceptance of the risk;
                (4) Increased hazard or material change
                                                                                     termination of the first Named ln-
                                                                                     sured's appointed agent.               ~i
                                                                                                                            t:!r
                    in the risk assumed which we could                   (14) Any other reasons in accordance with
                    not have reasonably contemplated at                        our underwriting guidelines for cancel-      1,
                    the time of assumption of the risk;                        lation of commercial lines coverage.
                (5) Substantial breaches of contractual                b. If we cancel this policy based on Para-
                    duties, conditions or warranties that                  graph 7.a.(1) or (2) above, we will mail or
                    materially affect the nature and/or in-                deliver a written notice, to the first Named
                    surability of the risk;                                Insured and any person entitled to notice
                (6) Lack of cooperation from the insured                   under this policy, at least 1O days before
                    on loss control matters materially af-                 the effective date of cancellation. If we
                    fecting insurability of the risk;                      cancel this policy for any other reason
                                                                           listed above, we will mail or deliver a writ-
                (7) Fraudulent acts against us by the in-                  ten notice to the first Named Insured and
                     sured or its representative that mate-                any person entitled to notice under this
                     rially affect the nature of the risk in-              policy, not more than 120 days nor less
                     sured;                                                than 30 days before the effective date of
                (B) Loss of or reduction in available in-                  such cancellation.
                     surance capacity;                                 c. In the notice of cancellation which is sent
                (9) Material increase in exposure arising                  to the first Named Insured, we will state
                     out of changes in statutory or case                   the reason for cancellation. For cancella-
                     law subsequent to the issuance of the                 tion due to the nonpayment of premium,
                     insurance contract or any subsequent                  the notice will state the effect of nonpay-
                     renewal;                                              ment by the due date. Cancellation for
               (10) Loss of or substantial changes in ap-                  nonpayment of premium will not be effec-
                    plicable reinsurance;                                  tive if payment of the amount due is made
                                                                           before the effective date set forth in the
               (11) Failure by the insured to comply with
                                                                           notice.
                    any Federal, State or local fire, health,
                    safety or building or construction                 d. Notice will be sent to the last mailing ad-
                    regulation, law or ordinance with re-                  dresses known to us, by:
                    spect to an insured risk which sub-                    (1) Certified mail; or
                    stantially increases any hazard in-                    (2) First class mail, if we have obtained
                    sured against within 60 days of written                     from the post office a date stamped
                    notification of a violation of any such                     proof of mailing showing names and
                    law, regulation or ordinance;                               addresses.
               (12) Failure by the insured to provide rea-             e. We need not send notice of cancellation if
                    sonable and necessary underwriting                     you have:
                    information to us upon written request
                                                                           (1) Replaced coverage elsewhere; or
                    therefore and a reasonable opportu-
                    nity to respond.                                          (2) Specifically requested termination.



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  D. The following is added and supersedes any other           2. This notice wilt be sent to the first Named In-
                                                                  sured at the last mailing address known to us
     provision to the contrary:
                                                                  by:
     NONRENEWAL
                                                                  a. Certified mail; or
     1. We may elect not to renew this policy for any
         reason permitted to cancel it. If we elect not           b. First class mail, if we have obtained from
         to renew this policy, we will mail a notice of               the post office a date stamped proof of
         nonrenewal, stating the reasons for nonre-                   mailing showing the first Named lnsured's
         newal, to the first Named Insured at least 30                name and address.
         days but not more than 120 days before the            3. We need not mail or deliver this notice if you
         expiration date of this policy. If this policy           have:
         does not have a fixed expiration date, it shall
                                                                  a. Replaced coverage elsewhere; or
         be deemed to expire annually on the anniver-
         sary of its inception.                                    b. Specifically requested termination.




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                                                PENNSYLVANIA NOTICE
           An Insurance Company, its agents, employees, or                      omission by any person in the furnishing of or the
           service contractors acting on its behalf, may provide                failure to furnish these services.
           services to reduce the likelihood of injury, death or                The Act does not apply:
           loss. These services may include any of the following                1. If the injury, death or loss occurred during the
           or related services incident to the application for,                    actual performance of the services and was
           issuance, renewal or continuation of, a policy of                       caused by the negligence of the Insurance Com-
           insurance:                                                               pany, its agents, employees or service contrac-
            1. Surveys;                                                             tors;
            2. Consultation or advice; or                                       2. To consultation services required to be performed
                                                                                    under a written service contract not related to a
            3. Inspections.
                                                                                    policy of insurance; or
            The "Insurance Consultation Services Exemption Act"
            of Pennsylvania provides that the Insurance Com-                    3. If any acts or omissions of the Insurance Com-
            pany, its agents, employees or service contractors                       pany, its agents, employees or service contrac-
            acting on its behalf, is not liable for damages from                     tors are judicially determined to constitute a
            injury, death or loss occurring as a result of any act or                crime, actual malice, or gross negligence.




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                                                        Instruction to Policy Writers
                 Attach the Pennsylvania Notice to all new and renewal certificates insuring risks located in Pennsylvania.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                CAP ON LOSSES FROM CERTIFIED ACTS OF
                            TERRORISM
   This endorsement modifies insurance provided under the following:
           BOILER AND MACHINERY COVERAGE PART
           COMMERCIAL INLAND MARINE COVERAGE PART
           COMMERCIAL PROPERTY COVERAGE PART
           DELUXE PROPERTY COVERAGE PART
           EQUIPMENT BREAKDOWN COVERAGE PART

   A. Cap On Certified Terrorism Losses                                          If aggregate insured losses attributable to terrorist
       "Certified act of terrorism" means an act that is                         acts certified under the Terrorism Risk Insurance
       certified by the Secretary of the Treasury, in con-                       Act exceed $100 billion in a Program Year (Janu-
       currence with the Secretary of State and the At-                          ary 1 through December 31) and we have met our
       torney General of the United States, to be an act                         insurer deductible under the Terrorism Risk In-
       of terrorism pursuant to the federal Terrorism Risk                       surance Act, we shall not be liable for the pay-
       Insurance Act. The criteria contained in the Ter-                         ment of any portion of the amount of such losses
       rorism Risk Insurance Act for a "certified act of                         that exceeds $100 billion, and in such case in-
       terrorism" include the following:                                         sured losses up to that amount are subject to pro
                                                                                 rata allocation in accordance with procedures es-
       1. The act resulted in insured losses in excess
                                                                                 tablished by the Secretary of the Treasury.
          of $5 million in the aggregate, attributable to
          all types of insurance subject to the Terrorism                   8. Application Of Exclusions
          Risk Insurance Act; and                                              The terms and limitations of any terrorism exclu-
       2. The act is a violent act or an act that is dan-                      sion, or the inapplicability or omission of a terror-
          gerous to human life, property or infrastruc-                        ism exclusion, do not serve to create coverage for
          ture and is committed by an individual or indi-                      any loss which would otherwise be excluded un-
          viduals, as part of an effort to coerce the civil-                   der this Coverage Part or Policy, such as losses
          ian population of the United States or to influ-                     excluded by the Nuclear Hazard Exclusion or the
          ence the policy or affect the conduct of the                         War And Military Action Exclusion.
          United States Government by coercion.




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